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Fi|l in this information to identify the case

Debtor name BendCO, lnc.

United States Bankruptcy Court for lhe: SOUTHERN DiSTRICT OF TEXAS

(:¥ase number 18-30849 |:f Check if this is an
(lf known) amended filing

 

 

Offlcial Form 206A/B
Schedu|e AIB: Asset -- Real and Personal Property 12l15

 

Disc|ose all property, real and personal, which the debtor owns or in which the debtor has any other |egal, equitable, or future
interest. |nclude all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. A|so
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized
|n Schedu|e AIB, list any executory contracts or unexpired |eases. Also list them on Schedule G.' Executory Con!racts and
Unexpired Leases (Official Form 2066).

Be as complete and accurate as possib|e. lf more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Aiso identify the form and line number to which the
additional information applies. if an additional sheet is attached, include the amounts from the attachment in the totai for the

pertinent part.

For Part 1 through Part1‘l, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. in valuing the debtor's |nterest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

|:| No. Golo Part 2.
g Yes. Fili in the information beiow.

Ali cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

2_ Cash on hand

3. Cbecking, savings, money market, or financial brokerage accounts (!denfify all)

Name of institution (bank or brokerage firm) 'l'ype of account Last 4 digits of
account number
3.1. Debtor-in-possession
Debtor~in~possesslon account account L l _9__ _§__ $54,920.48

 

4. Other cash equivalents (!dentr`ij/ a!l)

Name of institution (banl< or brokerage firm)

 

5. Totai of Part1
Add lines 2 through 4 (Enc|uding amounts on any additional sheets). Copy the total to line BO.

m Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

$54,920.48

 

 

w No. Go to Part 3.
m Yes. Fil| in the information below.

Officia| Form 206A/B Scheclule AIB: Assets -- Rea| and Perscna| Property page 1

 

 

 

Case 18-30849 Document 14

Case number (if known)

 

Deblor Bendco, lnc.
Name
7. Deposits, including security deposits and utility deposits

11.

'lta. 90 days old or less:

llb. Over 90 days old:

12.

13. Does the debtor own any investments?

14.

15.

'lS.

17.

Descriplion, including name of holder of deposit

Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Descrlption, including name of holder of prepayment

Total of Part 2.

Adci lines 7 through 8. Copy the total lo line 81.

m Accounts receivabie

10. Does the debtor have any accounts receivable?

}:] No. Go to Part 4.

121 Yes. Fill in the information beiow.

Acccunts receivable

face amount

Total of Part 3

$173,996.85
face amount

- $0.00
doubtful or uncollectible accounts

- $0.00
doubtful or uncollectible accounts

Current value on lines 11a + 'i'lb = line 12. Copy the total to line 82.

investments

E[ No. Golo Part 5.

m Yes. Fil| in the information below.

Vaiuation method
used for current value

N|utual funds or publich traded stocks not included in Part'l

Name of fund or siock:

Non~publicly traded stock and interests in incorporated and unincorporated
businesses, including any interest in an l_LCl partnership, or joint venture

Name of entity:

% of ownership:

Government bonds, corporate bonds, and other negotiable and

non-negotiable instruments not included in Part 1

Describe:
Total of Part 4

Add lines 14 through 16. Copy the total to iine 83.

m lnventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

g No. Go to Part 6.

g Yes. Fiil in the information below.

Official Form ZOBAIB

Schedu[e AIB: Assets -- Real and Personai Property

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18~30849

Current value of
debtor's interest

 

 

$0.00

 

 

Current value of
debtor's interest

$1732996.85

$0.00

 

 

$173,996.85

 

 

Current value of
debtor's interest

 

 

$0.00

 

 

page 2

 

 

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Debtor Bendco, il'lC1 Case number (it known) 18-30849
Name
Genera| description Date of the Net book value of Valuatlon method Current value of
last physical debtor's interest used for current value debtor's interest
inventory (Where availabie}
19. Raw materials lVllVl/DD}‘YYYY
20. Work in progress
21. Finished goods, including goods held for resale
22. Other inventory or supplies
23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84. $0'00
24. ls any of the property listed in Part 5 perishable?
M No
m Yes
25. l-ias any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
M No
m ¥es. Book value Valuation method Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
M No
g Yes
Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming or fishing~related assets (other than titled motor vehicles and |and)?
|z[ l\io. Go to Part 7.
|:l Yes. Fill in the information below.
Genera| description Net book value of Va|uation method Current value of
debtor's interest used for current value debtor's interest
(Where available)
28. Crops--either planted or harvested
29. Farn'i animals Examples.' Livestocl<, poultry, farm-raised fish
30. Farm machinery and equipment (Other than titled motor vehicles)
31. Farm and fishing supplies, chemicals, and feed
32. Other farming and fishing-related property not already listed in Part 6
33. Totai of Part 6. 0 00
Add lines 28 through 32. Copy the total to line 85. $ ‘
34. ls the debtor a member ofan agricultural cooperative?
lz[ No
m Yes. is any of the debtor's property stored al the cooperative?
ij No
m Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
|Z[ No
|:| Yes. Book value Valuation method Current value
36. ls a depreciation schedule available for any of the property listed in Part 6?
]z[ No
g Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

il Nc
g Yes

Ofiicial Form 206A/B Schedule AIB: Assets -- Rea| and Personal Property page 3

 

Debtor Bendco, lnc. Case number {if known)

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 4 of 76

Narne

Office furniture, fixtures, and equipment; and collectibles

3B.

39.

40.
41.

42.

43.

44.

45.

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

|:] No. Go to Part 8.
m Yes. Fi[| in the information below.

General description Net book value of Valuation method
debtor's interest used for current value
(Where availab|e)

Office furniture

35 Desks $875.
Chairs $450.
Fiie Cablnets $2,250.

18-30849

Current value of
debtor's interest

 

 

 

Fridges $300. $3,875.00
Office fixtures
Office equipment, including all computer equipment and
communication systems equipment and software
13 Computers $2,600
4 Printers $300.
‘l Time Clock $30.
15 Phones $900 (leaselpurchase)
2 TV's $400. $4,220.00
Collectlbles Examples; Anliques and figurines; paintings, prints, or other
ariwork; books, pictures, or other art objects; china and crystal; stampl coln,
or baseball card collections; other collections, memorabi|ia, or collectibles
Total of Part 7.
$8,095.00

Add lines 39 through 42. Copy the total to line 86.

ls a depreciation schedule ava||able for any of the property listed in Part 7?
E] No
m Yes

Has any of the property listed in Part 7 been appraised by a professional within the last year?

iii No
[_'] Yes

llllachinery, equipment, and vehicles

46.

47.

48.

Does the debtor own or lease any machinery, equipment, or vehicles?

|:[ No. Go to Part 9.
|z[ Yes. Fi|l in the information beiow.

General description Net book value of Valuation method
include year, make, mode|, and identification numbers debtor's interest used for current value
(i.e., V|N, H|Nl or N-number) {Where available}

Automobi|es, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

Current value of
debtor's interest

 

47.1. See attached list $23,245.00
Watercraft, trailers, motors, and related accessories Examples: Boats
lrailers, motors, floating homes, personal watercraft and fishing vessels

Official Form ZOGA)'B Scheduie AlB: Assets -- Rea| and Personal Property page 4

 

 

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Debtor Bendco, lnc. Case number (ifknown) 18-30849
Name
49. Aircraft and accessories

50.

51.

52.

53.

Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

See attached list
Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

ls a depreciation schedule available for any of the property listed in Part B?

M l\lo
|:| Yes

Has any of the property listed in Part 8 been appraised by a professional within the last year?

No
[_] Yes

m Real property

54.

55.

55.1.

56.

57.

58.

$4,046,000.00

 

 

$4,069,245.00

 

 

Does the debtor own or lease any real property?

m No. Goto FarllU.
E] Yes. Fil| in the information below.

Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Nature and extent Net book value of Valuation method
include street address or other description of debtor's interest debtor's interest used for current
such as Assessor Parcel Number (APN). in property {Where available) value

and type of property (for exampie,
acreage, factory. \.l»'arehousel apartment or
office building), if available

801 l-iouston Avenue
Pasadena, `l'X 77502
801 l-iouston Avenue Leasehold interest Unknown

Total of Part 9.

Add the current value on lines 554 through 55.6 and entries from any additional sheets Copy the total lo line 88.

is a depreciation schedule available for any of the property listed in Part 9?

§§ No
E:] Yes

Has any of the property listed in Part 9 been appraised by a professional w|th|n the last year?
M No
g Yes

Part 10: intangibles and intellectual Property

59.

60.

Does the debtor have any interests in intangibles or intellectual property?

g No. Goto Partll.
121 Yes. Fill in the information below.

Genera[ description Net book value of Va|uation method
debtor's interest used for current value

(Where available)
Patents, copyrights, trademarks, and trade secrets

Official Form 206AIB Schedule Ale Assets -- Rea| and Personal Property

Current value of
debtor's interest

$0.00

 

 

$0.00

 

Current value of
debtor's interest

page 5

 

 

 

 

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Debtor Bendco, lnc. Case number (if known) 18~39849
Narne
61_ |nternet domain names and websites

62.
63.
64.
65.

66.

67.

68.

69.

Website: www.bendco.com Unknown $0.00
Licenses, franchises, and royalties

Customer listsl mailing lists, or other compilations

Other intangibles, or intellectual property

Goodwili

 

Total of Part ’10.

Add lines 60 through 65. Copy the total to line 89. $0'00

 

 

 

Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ ‘lO‘i(4'iA} and 107)?

No
[:] ‘¢’es

ls there an amortization or other similar schedule available for any of the property listed in Part '10?
w No

ij Yes

Has any of the property listed in Part 10 been appraised by a professional within the fast year?

ii No

|:l Yes

Part 11: Ait other assets

70.

71.

72.

73.
74.

75.

76.

77.
78.

79.

Does the debtor own any other assets that have not yet been reported on this form?
include ali interests in executory contracts and unexpired leases not previously reported on this form.

121 No. Go to Part12.
m Yes. Fil| in the information betow.

Current value of
debtor's interest
Notes receivable
Description (inciude name of obligor)

'i'ax refunds and unused net operating losses (NClLs)

Description (tor examp|e, federai, state, iocat)

interests in insurance policies or annuities

Causes of action against third parties (whether or not a lawsuit has been filed)

Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to setoff claims

Trusts, equitable or future interests in property

Other property of any kind not already listed Exampies: Season tickets. country ciub membership

 

 

Total of Part 'i1.

Add lines 71 through 77. Copy the total to fine 90. $O'GD

 

 

 

Has any of the property listed in Part 11 been appraised by a professional within the iast year?

|z[ No
|:| Yes

Officiaf Form ZOSA/B Schedule A!B: Assets -- Real and Personal Property page 6

 

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Debtor Bel"ldco, lnc. Case number (if known) 18-30849
Name

in Part 12 copy ali of the totals from the earlier parts of the form.

 

Ty pe of property Current vaiue of Current value of
personal property real property
80. Cash, cash equivalents, and financial assets. $54,920.48

 

Copyii`ne 5, Part 1'.

81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivabie. Copy line 12, Part 3. $173;996.85
83. investments. Copy/inc 17, Part 4. $0.00
84. lnventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. $0.00

Copy line 33, Part 6.

86. Of'fice furniture, fixtures, and equipment; $8!095.00
and coilectib|es. Copy line 43, Part 7.

 

 

 

 

87. liiiachinery, equipment, and vehicles. $4!069,245.00

Copy line 51, Part 8.
88. Real proparty. Copy line 56, Pan‘ 9 -) $0.00
89. intangibles and intellectual property. $0.00

Copy line 66, Part 10.

90. Ait other assets. Copyiine 78, Part 11. + $0.00

 

 

 

 

 

 

91. Total. Addlines80thr0ughQDforeachcoiumn. 91a. $4,306!257.33 + 91b. $G.OD

 

 

 

92. Total ofa|l property on Schedule AIB. i_ines 913 + 9'lb = 92 $4,306,257.33

 

 

 

Officiai Form ZOBAIB Schedule AIB: Assets -- Reai and Personal Property page 7

 

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Fiii in this information to identify the case:

Debtur name Bendco, lnc.

United Staies Bankruptcy Court for the: SOUTHERN DiSTR|CT OF TEXAS

 

Case number 18-30849 I:I Check it this is an
(if known) amended filing

Officiai Form 206D
Schedule D: Creditors Who Have Ciaims Secured by Property 12115

 

 

Be as complete and accurate as possibie.

1. Do any creditors have claims secured by debtor's property?
[_'_] No. Check this box and submit page 1 of this form to the court with debtor's other schedules Debtor has nothing etse to report on this form.
M Yes. Fili in ali of the information beiow.

List Creditors Who Have Secured Ciaims

2. l_ist in alphabetical order all creditors who have secured ciaims. if a creditor has more
than one secured ciaim, list the creditor separately for each ciaim.

 

Creditor's name Describe debtor's property that is
Ascentium Capitai LLC subject to a lien
creditors mailing address Akyapak APK-300 bending machine

23970 Highway 59N Describe the lien
Judgment & UCC

is the creditor an insider or related party?

$242,820,14 $150,000.00

 

 

 

 

mwood T)( 77339-1535 M NO
Creditor‘s ematl address, if known m Yes

ls anyone else liable on this ciaim?
Date debt was incurred |z[ NO

Last 4 digits of account m Yes. Fiil out Schedule H.' Codebtors (Officiai Form 206i~t)

number _____ As of the petition filing date, the claim is:
Do multiple creditors have an interest in Che°k ali thai apply-

the same property? [_“] Contingent

a No [:] Unllquldated

E Yes. Specify each creditor. including this DiSPUl€d
creditorl anct its reiative priority.

3. Total of the dollar amounts from Part 1, Coiumn A, including the amounts from the

Addnional Page, if any. $2,948,061-42

Oificiai Form 2960 Schedule D: Creditors Who l-lave Clalms Secured by Property page 1

 

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Debtor Bendco, lnc. Case number (it known} 18-30849

Additionai Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

    

 

 

 

 

 

 

 

 

Creditor's name Describe debtor's property that is
sank of America, N.A. subject w a lien $328,118.58 $0.00
Creditor’s mailing address Loan #1
PO Box 660576 Describe the lien
UCC
is the creditor an insider or related party?
Dai|as TX 75266-0576 |Z'[ NO
Creditor's ernai| address, if known |:l yes
is anyone else liable on this claim?
Date debt was incurred [:I N°

Last4 digits Of account M Yes. Fill out Schedule H.' Coo'ebtors (Ofticial Form 206i-{)

number iL_G_l_ As of the petition filing date, the claim is:

Do multiple creditors have an interest in Check all that app|y‘

the same property? [:] Contingent
NO {:] Unliquidated
|:| Yes. Have you already specified the DlSPUl€ii

relative priority'?
[:] No. Specity each creditorl including this
creditor. and its reiative priority.

|:E Yes. The relative priority of creditors is
specified on lines

 

 

Creditor's name Describe debtor's property that is
Bank cf America, N_A_ Sub]-ect to a lien $2,199,712.70 $3,000,000.00
Creditor's mailing address L°a" #2
300 Nlal”f‘@f Sl- Describe the lien

 

 

 

is the creditor an insider or related party?
St. LOuis lVlO 63101-25'10 |z[ No

Creditor's emaii address, if known |:l Yes
ls anyone else liable on this claim?

Date debt was incurred [_"i No
sz Yes. Fiil out Schedule H.' Codebtors (Officia| Form 286|-!)

 

 

Last 4 digits of account

number .....9..,,...§.......?...__§_, As of the petition filing date, the claim is:

Do multipie creditors have an interest in C'heck all that apply

the same property? L__[ Contingent
g No ['_'[ Unliquidated
g Yes. Have you already specified the M DiSPl-iied

relative priority?
|:| No. Specity each creditor, including this
creditor. and its relative priority.

m Yes. The relative priority of creditors is
specified on lines

Otficiai Form 2060 Additionai Page of Schedule D: Creditors Who Have Ciairns Secured by Property page 2

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 10 of 76

Debtor Bendco, irlc. Case number (if known) 18-30349

Additional Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

 

 

 

 

 

2_4 Creditor's name Describe debtor's property that is
Citibank, N.A. subject to a lien U"known $0-00
Creditor's mailing address Alc°a receivable
388 Greenwich St' Describe the lien
UCC lien
ls the creditor an insider or related party?
New York NY 10013 [i_?_'f NO
Creditor's email address, if known m Yes

is anyone else liable on this claim?

Date debt was incurred |Zl NO
m Yes. i"-`i!l out Schedule H: Codebtors (Officia| Form ZOSH}

 

Last 4 digits of account

number ____ As of the petition filing date, the claim is:

Do multiple creditors have an interest in Ch@°k an met aPl]il/-

the same property? ij Contingenl
g No g Unliquidated
m Yes. i-lave you already specified the lzl DiSPUl@-d

relative priority?

ij No. Specify each creditor. inc§uding this
creditor, and its relative priority.

Yes. The relative priority of creditors is
specified on lines

 

 

 

 

 

 

 

 

m Creditor's name Describe debtor's property that is
Corporation Service Co of America Subi€€f f° a lien Unknown $0'00
Creditor's mailing address Accountsl Per$°nal property
AS Repl'e$€ntataive Describe the lien
PO Box 2576 UCC
ls the creditor an insider or related party?
Springfield iL 62708 m Nc
Creditor's email address, if known l:f Yes
ls anyone else liable on this claim?
Date debt was incurred lz[ NO

Last 4 digits of account g Yes. Fi|| out Schedule H.' Coo'ebtors (Ofiiciai Form 206H)

number _____ As of the petition filing date, the claim is:

Do multiple creditors have an interest in Check an that app|y‘

the same property? g Contingent

M NO m Unliquidated

ij Yes. i-lave you already specified the ij DlSPUi€d
relative priority?

[_'_‘] No. Specify each creditor, including this
creditor. and its relative priority.

ij Yes. The relative priority of creditors is
specified on lines

Ofiiciai Form 2060 Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property page 3

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 11 of 76

Debtor Bendco, lnc. Case number (if known) 18-30849

Additionai Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

 

 

 

 

 

 

Creditor's name Describe debtor's property that is
Konica Mino|ta Sub]-ect to a lien $27,000.00 $5,000.00
Creditor's mailing address C°Pierlprimer
21 ‘l 46 Network Place Describe the lien
UCC lien
ls the creditor an insider or related party?
Chicago IL 60673 ` M NO
Creditor's email address, if known m Yes

ls anyone else liable on this claim?

Date debt was incurred M NO
E] Yes. Fiil out Schedule H.‘ Codebtors (Offlcial Form 206H)

 

Last 4 digits of account

number ____ As of the petition fi||ng date, the claim is:

Do multiple creditors have an interest in Check all that aPPil/'

the same property? |:| Contingeni
E'f No |:| Un|iquidated
g Yes. Have you already specified the M Di$i’\iied

relative priority?
g No. Specify each creditor, including this
creditor, and its relative priority.

Yes. The relative priority ot creditors is
specified on lines

 

 

 

 

 

 

 

 

Creditor's.name . Describe debtor's property that is Unknown $0'00
Leaf Capltal Fundmg, LLC subject to a lien
Creditor's mailing address Roundo
2005 Nlarkef Sf., 14th FiOOl" Describe the lien
UCC
ls the creditor an insider or related party?
Phiiadelphia PA 19103 M No
Creditor's email address, if known m Yes
is anyone else liabie on this claim?
Date debt was incurred iz[ NO

Last4 digits of account |:| Yes. Fii| out Schedule H.' Codebtors (Official Form 206H)

number ____ As urine petition filing date, the claim is:

Do muitiple creditors have an interest in Che°k all that appiy'

the same property? |:| Contingent
g No |:| Un|iquidated
L'J Yes. Have you already specified the |E' Di$i)lfied

relative priority?

l:] No. Specify each creditor, including this
creditor, and its relative priority.

Yes. The relative priority of creditors is
specified on lines

Oificla| Form 2060 Additional Page of Scheduie D: Creditors Who Have C|aims Secured by Property page 4

 

 

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Debtor Bendco, lnc. Case number (if known) 18-30849

Additional Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

 

Creditor's name Describe debtor's property that is

Susquehanna Comm Finance Subiecf fO a lien $111'000'00 $100’000'00
Creditor's mailing address R°und° R7

2 Country View Road, Ste. 300 Describe the lien

 

Security Agreement

 

 

ls the creditor an insider or related party?
Nialvern PA 19355 |Z{ No

Creditor's email address, if known n Yes

 

 

ls anyone else liable on this claim?

Date debt was incurred N°

Last 4 digits of account |'_"] Yes. Fill out Schedule H.' Codebiors (Official Form 206il)

number ____.._.._.“_._____ As of the petition filing date, the claim is:

Do multiple creditors have an interest in Che°k an mat apply'

the same property? i_”_] Contingent
NO ij Un|iquidated
|:| Yes. Have you already specified the [] DlSlJUi€d

relative priority?
[:] No. Specify each creditor, including this
creditor, and its reiative priority

ij Yes. The re§ative priority of creditors ls
specified on lines

 

 

 

 

 

 

 

 

m Creditor's name Describe debtor's property that is
TCF Equipment Finance Subject to a lien $9’410'00 $150'°00'00
Creditor's mailing address R°und° Section roller R'5
PO B°x 77077 Describe the lien
UCC
ls the creditor an insider or related party?
Nlinneapo|is MN 55480-7777 321 NO
Creditor's emaii address, if known m Yes
ls anyone else liable on this claim?
Date debt was incurred IZI NO

i_ast 4 digits of account |:| Yes. Fill out Schedule H.' Codebtors (Official Form 206l-i)

number 8 2 7 _6 As of the petition filing date, the claim is:

Do multiple creditors have an interest in Che°k ali that BPP‘V-

the same property? ij Contingent
g NO |:i Unilquidated
ij Yes. Have you aiready specified the |:i Dispuied

relative priority?

ij No. Specify each creditor, including this
creditor, and its relative priority.

Yes. `i'he relative priority of creditors is
specified on lines

Official Form 2650 Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property page 5

 

 

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Debtor BendCO, lnc. Case number (if known) 18»30849

Additional Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

 

 

 

 

 

 

 

 

Creditor's name Describe debtor's property that is
US Bancorp Equipment Finance subject to alien 330»000-00 $250»000-°0
creditorvs mai;;ng address Roundo angle bending roller R-725
PO Box 790413 Describe the lien
UCC
ls the creditor an insider or related party?
St. Louis NlO 63179~0413 E[ No
Creditor's email address, if known g Yes
is anyone else liable on this claim?
Date debt was incurred E[ NO

Last4 digits of account |:| Yes. Fill out Schedule H.' Codebtors (Oflicial Form 206H)

number As of the petition filing date, the claim is:

Do multiple creditors have an interest in Che°k an thai apply-

the same property? |"_“] Contingenl
521 Ng |:| Un|iquidated
m Yes. Have you already specified lite |:l DiSl?Uied

relative priority?
ij No. Specily each creditor. including this
creditor, and its relative pricrity.

¥es. The relative priority of creditors is
specified on lines

2_11 Creditor's name Describe debtor's property that is
Wetls Fargo Bank, N.A. subject te a lien
Nissan Forklit't PD 155H Sl'N 300367

Unknown $0.00

Creditor's mailing address

 

 

 

 

 

 

300 “l“ri-State international #400 Describe the lien
UCC
ls the creditor an insider or related party?
Lincolnsl'iire |L 60069 iz[ NO
Creditor's email address, if known g Yes
ls anyone else liable on this claim?
Date debt was incurred M NO '

i_ast 4 digits of account [_'] Yes. l"-`il| out Schedule H.' Codeblors (Officia| Form ZOBl-l)

number _____________ As of the petition filing date, the claim is:

Do multiple creditors have an interest in Check all that apply-

the same property? g Contingent
|Z[ No [_'] Un|iquidatecl
m Yes. Have you already specified the M Di$PUl€d

relative priority?
ij No. Specify each creditor. including this
creditor, and its relative priority.

Yes. The relative priority of creditors is
specified on lines

Ofiicial Form 2060 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 6

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 14 of 76

Debtor Bendco, lnc.

Case number (if known) 18-30849

M List Others to Be l\lotifieol for a Debt Already l..isted in Part 1

l_ist in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

lf no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. if additional pages are needed,

copy this page.

Name and address

Brian Engelhardt
BB&T
2 Country View Rd., Ste. 300

 

iiiialvern PA

Corporation Service Company
801 Stevenson Drive

19355

 

 

Sprngfield lL

CT Lien Solutions
2727 Allen Parkway, Ste. 100

62703

 

 

l-iouston TX

Judy K. i_ong
U.S. Bank Equipment Finance
1310 |Viadrid St.

77019

 

iV|arshall NIN

K. l'lilark Vincent
Vincent Serafino Geary etai
1601 Elm St., Ste. 4100

56258

 

Dallas TX

K, lillark Vincent
Vincent Serafino Geary etai
1601 E|m St., Ste. 4100

75201-3073

 

Da|ias TX

75201-3073

On which line in Part1
did you enter the
related creditor?

 

Line___Z_.S___
Line__$.:._'il_
Line 2.4
Line _Z_:l_gm
Line ____Z_._§m
Line _2§___

Ot’ficial Form 206D Part 2 of Schedule D: Creditors Who Have Claims Secured lay Property

i_ast 4 digits of
account number
for this entity

page 7

 

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 15 of 76

Debtor Bendco, lnc.

Case number (if known) 18-30849

List Others to Be Notified for a Debt Already Listed in Part 1 ~- Continuation Page

Name and address

Niatthew “l“. Wright
12620 FNl 1960 Rd West
Suite A-4, Box 304

On which line in Part1
did you enter the
related creditor?

Line 2.‘l

 

l-louston

Teri H. Keiley, Esq.

TX 77065

Line 2.9

6750 West LOOp S., Ste. 920

 

 

Bellaire

Ofiicia| Form 206D

TX 77401

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

Last 4 digits of
account number
for this entity

page 8

 

 

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 16 of 76

Fill in this information to identify the case:

Debtor Bendco, lnc.

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF TEXAS

Case number 18-30849

(if known)

Officiai Form 206E/F

 

Schedule Ell'-': Creditors Who Have Unsecured Claims

[] Check ifthis is an

amended filing

12l15

 

Be as complete and accurate as possible. Use Part1 for creditors with PRlORlTY unsecured claims and Part 2 for creditors with
NONPR|OR|TY unsecured claims. l_ist the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personai Property (Official Form 206AIB) and on Schedule G:
Executory Contracts and Unexpired Lease.s (Official Form 2066). Numher the entries in Parts 1 and 2 in the boxes on the left.

if more space is needed for Part1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List A|l Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)‘

m No. Goto Part 2.
M Yes. GctolineZ.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.

ll more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part i.

Priority creditor's name and mailing address
l-larris County Tax Assessor-Coi
PO Box 4089

 

 

Houston TX 77210-4089

Date or dates debt was incurred

 

Last 4 digits of account
number ___ ___ _

Specify Code subsection of PR|OR|T¥ unsecured
claim: il U.S.C. § 507(a){ 3 )

Priority creditor's name and mailing address
internal Revenue Service

P.O. BOX 7346

 

 

Phiiadelphia PA 19101-7346

Date or dates debt was incurred

 

Last4 digits of account
number

Specify Code subsection of PR[OR|TY unsecured
claim: 11 U.S.C. § 507(a)( 8 )

Officiai Form 206E/F

As of the petition filing date, the
claim is: Check ali that apply.

ij Conlingenl
ij Linliquidated
ij Disputed

Bas|s for the claim:
Taxes

ls the claim subject to offset?

No
i`_'i Yes

As of the petition filing date, the
claim is: Check ali thalappiy.

ij Contingent
|:] Un|iquidaled
ij Dispuied

Basis for the claim:
Notice Only

ls the claim subject to offset?

iz[ No
g Yes

Schedule EIF: Creditors Who Have Unsecured Claims

 

 

Total claim Priority amount
$39,010.94 $39,010.94
$0.00 $0.00
page 1

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 17 of 76

Debtor Bendco, lnc. Case number (if known) 18-30849

Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the

previous page. lf no additional PRIOR|TY creditors exist, do not fill out or submit this page. Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the $71,635_59 $71’635_59

 

claim is: Check ali thatappiy.

[:] Contingent
PO BOX 1313 i:] Unliquidated
m Disputed

Pasadena lSD

 

Basis for the claim:
Pasadena TX 77501-1318 Taxes

Date or dates debt was incurred

 

 

ls the claim subject to offset?

 

No
Last 4 digits of account § yes
number _ _ __
Specity Code subsection of PR|ORETY unsecured
claim: 11 U.S.C. § 507(3)( 3 )
Priority creditor's name and mailing address As of the petition filing date, the $12}112_91 $12’112_91

 

claim is: Check all fhatapply.

_ Contingenl
Bankruptcy Unlt, Room 556 § Uiiiiquidaied

101 E. 15th St. ["_‘] Disputed

Texas Workforce Commission

Basis for the claim:

 

Austin TX 78778~0001

Date or dates debt was incurred

 

ls the claim subject to offset?
iz[ No

Last 4 digits of account ij Yes

number _3__ __§m __7__“_ __8___

Specify Code subsection of PRiOR|TY unsecured

claim: 11 U.S.C. § 507(a)( 8 )

 

Officiai Form 206ElF Schedule EiF: Creditors Who Have Unsecured Claims page 2

 

 

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Deblor Bendco, lnc. Case number (if known) 18-30349

List All Creditors with NONPRiORlTY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured ciaims. ll more space is needed for nonpriority unsecured

claimsl fill out and attach the Addltional Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.1 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Unknown
Checlr ali that apply.
614 Curtis Sreet Property Ll_C {_':] Contingent
801 Houston Ave. i:] Unliquidated
m Disputed
Basis for the claim:
Pasadena TX 77502 Lease
Date or dates debt was incurred 15 the Claim Sllbi"il‘?¢t to Offset'?
M No
Last 4 digits of account number _ ___ m |:i Yes
3.2 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $131’945_07
Check ali that apply.
707 Houston Ave Property LLC ij Contingent
801 Houston Ave. ij U"“q“idale{i
|:[ Disputed
Basis for the claim:
Pasadena TX 77502
Date or dates debt was incurred is the claim subject to offset?
No
Last 4 digits of account number _ __ ____ § Yes
3.3 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Unknown
Check all that appiy.
801 Houston Ave Property LLC m Contingent
801 Houston Ave. l:l U""q“idaied
ij Disputed
Basis for the claim:
Pasauena Tx 77502 lease
Date or dates debt was incurred is the C|alm Slel`act to OffSet?
g No
Last 4 digits of account number _ _ __ g Yes
3.4 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $2,070_00
Check ali that appiy.
A&M Tecl‘ll‘lical Services ij Contingent
4102 Lauder Rd El U"'lquidafed
ij Disputed
Basis for the claim:
Houston TX 77039
Date or dates debt was incurred ls the claim subject to offset?
No
Last 4 digits of account number _ _ __ _____ § Yes
Official Form 206E/F Schedule EiF: Creditors Who Have Unsecured Claims page 3

 

 

 

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Debtor Bendco, lnc.

Additionar Page

Case number (if known)

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. it no additionai NONPREOR!TY creditors exist, do not fiil out or submit this page.

 

 

 

 

ABC Home and Commercial Serv

8448 N. Sam Houston Pkwy W
#175693

3.5 Nonpriority creditor's name and mailing address

 

Houston
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

ACC Business
PO Box 105306

TX 77064

3.6 Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:

Check all that appiy.
E Contingent

ij Uniiquidafed
m Disputed

Basis for the claim:

18-30849

 

 

 

 

Atianta
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Access America Transport
cio CST Cornpany lnc.
PO Box 224-768

GA 30348-5306

;4.__§__2__1

3.7 Nonpriority creditor's name and mailing address

is the claim subject to offset?

No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
ij Contingent

|:] Un!iquidated
]“‘_“] Disputed

Basis for the claim:

 

 

Daiias
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Accutest Labs
782'1 Pinemont

TX 75222-4768

...§.....é.._.§_._§”_

3.5 Nonpriority creditor's name and mailing address

is the claim subject to offset?

M No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
m Gonttngeni

[:] Un|iquidaied
m Dispetad

Basis for the claim:

 

 

 

Houston
Date or dates debt was incurred

Last 4 digits of account number

Officia| Form ZOSE/F

TX 77040

is the claim subject to offset?

121 No
ij Yes

As of the petition filing date, the claim is:

Check all that apply.
[“_'| Contingent

[:_] Un|iquidated
[:| Dispuied

Basis for the claim:

 

is the claim subject to offset?
No

m Yes

Schedule EIF: Creditors Who Have Unsecured Claims

Amount of claim

$482.34

$764.40

$4,575.00

$18,330.00

page 4

 

 

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Debior Bendco, lnc. Case number (if known) 18-30849

m Additionai Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. it no additional NONPRlORlTY creditors exist, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.9 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $17,590_73
Check ali that appiy.
Adobe Equipment g Contingent
7607 Wailisvil|e Rd i:l UniiCiUiCi~'=\ted
g Disputed
Basis for the claim:
Houston TX 77020
Date or dates debt was incurred is the claim subject to offset?
m No
Last 4 digits of account number ___ _ _ 5 Yes
3.10 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $8,948_95
Check ali that appty.
Advanced Crane & Hoist Services [_*_{ Contingent
PO Box 446 |‘_'] Uniiquidated
|:[ Disputed
Basis for the claim:
Pear|and TX 77588
Date or dates debt was incurred |S the Gl&im SUbjEGt to offsei:?
|Z[ No
Last 4 digits of account number w __m m |:[ Yes
3.11 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $14,652_66
Check alt that apply.
Airgas USA, LLC [:_] Contingent
PO Box 676015 [:] Un|i€|i*idatefi
[“_‘] Dispuied
Basis for the claim:
Daiias TX 75267
Date or dates debt was incurred ls the claim subject to offset?
No
Last 4 digits of account number _ __ ____ n Yes
3.12 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $544_71
Check all that appty.
AJAX Tocco Niagnethermic |'_‘j Contingent
PO Box 78000, Dept #781449 l:] Unliqilidaf€€i
n Disputed
Basis for the claim:
Detroit iV|i 48278
Date or dates debt was incurred iS the Claim Subject 10 OffSet?
M No
Last 4 digits of account number _ ____“ m m m Yes
Officia| Form 206EIF Schedule EIF: Creditors Who Have Unsecured Claims page 5

 

 

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Deblor Bendco, lnc. Case number (if known) 18-30849

Additionai Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fiil out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.13 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $2’666_00
Check all that apply.
Amtrust North America g Contingent
p0 BOX 6939 g Un|iquidated
g Disputed
Eiasis for the claim:
Cleveiand OH 44109~1939
Date or dates debt was incurred [S the Claim Subject to offset?
No
Last 4 digits ot account number __§___ mgm "§_ L § Yes
3.14 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $258_31
Check all that appty.
Angeiina American, lnc. [] Contingent
PO Box 151837 [_'_] Un|iquidated
[J Disputeci
Basis for the claim:
Lufkin TX 759'| 5
Date or dates debt was incurred ls the claim subject to offset?
|Z No
Last4 digits of account number ___ ___ ___ l-_-l Yes
3.15 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $1’730_54
Check all that apply.
Apache Oii Company [:| Ccntingent
p0 Box 177 n Un|iquidated
m Disputed
Basis for the claim:
Pasadena TX 77501
Date or dates debt was incurred |S the Claim Subject to offset?
|Z| No
Last 4 digits of account number l L _§___ _“_Q__ m Yes
3.16 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $775_00
Check all that appty.
Armstrong Transports Group inc. [:f Contingent
PO Box 745100 m Un|iquidated
[:j Disputed
Basis for the claim:
At|anta GA 30374-5100
Date or dates debt was incurred ls the claim subject to offset?
No
Last 4 digits of account number __ ____ ____ __ g Yes
Officiai Form 206EtF Schedule EIF: Creditors Who Have Unsecured Claims page 6

 

 

 

 

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Debtcr Bendco, lnc.

Additionai Page

Case number (if known)

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. [f no additional NONPRIOR|TY creditors exist, do not fill out or submit this page.

 

3.17 Nonpriority creditor's name and mailing address

 

 

 

AT&T Fax
PO Box 105414

 

 

Atlanta GA 30343
Date or dates debt was incurred

l_ast4 digits of account number

 

 

 

3.18 Nonpriority creditor's name and maiiing address

 

Bal| Winch
15786 Hwy 75 North, #110948

As of the petition filing date, the claim is:

Check ali that appiy,
jj Contingent

|:| Untiquidaied
|:| Disputed

Basis for the claim:

 

 

 

Wi|lis TX 77378
Date or dates debt was incurred

Last 4 digits of account number

 

3.19 Nonpriority creditor's name and mailing address

 

 

 

Bandwidth
75 Remittance Dr., Dept 6647

ls the claim subject to offset?

g No
m Yes

As of the petition filing date, the claim is:

Check att that apply.
m Contingent

m Un|ic;uidated
m Dispuied

Basis for the claim:

 

 

 

Chicago IL 60675
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.20 Nonpriority creditor's name and mailing address

 

Banl< of America

is the claim subject to offset?

M No
g Yes

As of the petition filing date, the claim is:

Check ali that appiy.
m Contingent

m Uniiquidated
m Disputed

Basis for the ciaim:

 

 

 

 

 

PO Box 660576

Daiias TX 75266~0576
Date or dates debt was incurred

Last 4 digits of account number "_9_ _7__ l 1

Officiai Form 206EIF

ls the claim subject to offset?

|zj No
n Yes

As of the petition filing date, the claim is:

Check all that appty.
m Contingent

m Uniiquidated
l:] Disputeci

Basis for the claim:
Credit Cards

is the claim subject to offset?

|zi' No
m Yes

Scheduie E.lF: Creditors Who Have Unsecured Claims

’I 8-30849

Amount of claim

$56.93

$24,024.8‘1

$310.50

$105,004.07

page 7

 

 

 

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Debtor Bendco, lnc.

Addiuonal Page

Case number (if known)

’i 8-30849

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPRiOR|TY creditors exist, do not fill out or submit this page.

 

3.21 Nonpriority creditor's name and mailing address

 

 

 

Bayou City Boit & Supply Co., lnc.
PO Box 330264

 

 

Houston TX
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3,22 Nonpriority creditor's name and maiiing address

 

BlC Alliance
PO Box 40166
Baton Rouge, LA

77233-0264

As of the petition fiiing date, the claim is:

Check all that appty.
[_'_] Contingent

[:] Uniiquidaied
|;] Disputad

Basis for the claim:

 

 

is the claim subject to offset?

M No
g Yes

As of the petition filing date, the claim is:

Check ali that apply.
a Contingent

g Un|iquidaied
g Dispuiecl

Basis for the claim:

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.23 Nonpriority creditor's name and mailing address

 

Broome Weiding & liliachine
7909 Bayside Ave.

 

 

Galveston TX 77554
Date or dates debt was incurred

l,.ast 4 digits cf account number

 

3.24 Nonpriority creditor's name and mailing address

 

 

 

Burieson Fiorist
2317 South Shaver, #000135
Pasadena, TX 7750

 

is the ciaim subject to offset?

|zj No
|:j Yes

As of the petition filing date, the claim is:

Check all that apply.
['_“] Contingent

|:] Unliquidated
n Disputed

Basis for the claim:
K|oeckner Nietais

is the claim subject to offset?
m No

|:| Yes

As of the petition filing date, the claim is:

Check ali that appiy,
]:| Contingent

jj Uniiquidated
jj Disputed

Basis for the ciaim:

 

 

Date or dates debt was incurred

Last 4 digits of account number

Ofiicia| Form ZOESEIF

is the claim subject to offset?

jz[ i\|o
jj Yes

Scheduie EtF: Creditors Who Have Unsecured Claims

Amount of claim

$153.94

$11,302.69

$1,038.27

$309.57

page 8

 

 

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Debtor Bendco, lnc.

Additional Page

Case number (if known)

18-30849

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

3.25 Nonpriority creditor's name and mailing address

 

 

 

Cameo Fabricators, inc.
13835 Chrisman Rd, #30322

 

 

Houston TX 77039
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.26 Nonpriority creditor's name and mailing address

 

CAN Capital Asset Ser\.ricingz inc.
Fora Financiai
242 W. 36th St.

 

New York NY 10018
Date or dates debt was incurred

Last4 digits of account number

 

 

3.27 Nonpriority creditor's name and mailing address

 

 

Center Point Energy
PO Box 4981

As of the petition filing date, the claim is:

Check all that appty.
jj Contingent

n Un|iquidaied
|:[ Disputed

Basis for the claim:

 

ls the claim subject to offset?

g No
m Yes

As of the petition filing date, the claim is:

Check ali that apply.
[:l Conilngent

[:| Un|iquidated
I:] Disputad

Basis for the claim:

 

 

 

Houston TX 7721 0
Date or dates debt was incurred

Last 4 digits of account number

 

3.28 Nonpriority creditor's name and mailing address

 

 

 

Channel Sheet |\iletal1 lnc.
PO Box 5545

is the claim subject to offset?

M No
m Yes

As of the petition filing date, the claim is:

Checir all that appiy.
|:| Contingeni

|:i Linllquidated
|:j Disputed

Basis for the claim:

 

 

 

Pasadena TX 77508
Date or dates debt was incurred

Last 4 digits of account number

Ofticiai Form 206EtF

is the claim subject to offset?

|zj No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
m Contingenl

{;| Unliquidated
m Disputad

Basis for the claim:

 

is the claim subject to offset?

M No
ij Yes

Schedule Ei'F: Creditors Who Have Unsecured Claims

Amount of claim

$325.00

$141,272.79

$212.87

$2,857.00

page 9

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 25 of 76

Debtor Bendco, lnc.

Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fii| outer submit this page.

 

3.29 Nonpriority creditor's name and mailing address

 

 

 

City of Pasadena Water Dept
PO Box 1337

 

 

Pasadena TX 77501
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.30 Nonpriority creditor's name and mailing address

 

Comcast #8777-70-1 XX-XXXXXXX
PO Box 660618

As of the petition filing date, the claim is:

Check ali that apply.
jj Contlngent

g Un|iquidaled
l:i Disputeci

Basis for the claim:

Case number (if known)

 

 

 

Daiias TX 75265
Date or dates debt was incurred

Last 4 digits of account number

 

3.31 Nonpriority creditor's name and maiiing address

 

 

 

Commercial Coating Services
5200 Curtis Lane

is the claim subject to offset?

|z[ No
|:| Yes

As of the petition filing date, the claim is:

Check ali that appty.
|:j Contingeni

jj Unliquidated
jj Dispuied

Basis for the claim:

 

 

 

New iberia LA 70560
Date or dates debt was incurred

Last 4 digits of account number L 1 1 _1__

 

 

 

3.32 Nonpriority creditor's name and mailing address

 

D & D Systems
PO Box 807

is the claim subject to offset?

E[ No
E| Yes

As of the petition filing date, the claim is:

Check ali that apply.
m Contingent

|:] Uniiquidated
|:] Disputed

Basis for the claim:

 

 

 

Liberty TX 77575
Date or dates debt was incurred

Last 4 digits of account number

Olficia| Form 206E/F

is the claim subject to offset?

m No
g ‘{es

As of the petition filing date, the claim is:

Check ali that appty.
g Contingent

g Unilquidaled
jj Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
|:f Yes

Schedule EtF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$2,443.02

$411.79

$13,922.44

$2,002.78

page 10

 

 

 

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Debtor Bendco, inc.

Additionai Page

Case number (if known)

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. lf no additionai NONPRiOR|TY creditors exist, do not fill out or submit this page.

 

3.33 Nonpriority creditor's name and mailing address

 

 

 

Darr Equipment Co of Houston
dba Adobe Equipment
7602 Waiiisviiie Rd.

 

As of the petition filing date, the claim is:

Check all that appiy.
m Contingent

[_“_'| Unliquiciated
|zj Dispuied

Basis for the claim:

 

 

Houston 'l'X 77020-3635
Date or dates debt was incurred
Last 4 digits of account number ___§m m‘lm ”§_” ”_§”

 

 

 

3.34 Nonpriority creditor's name and mailing address

 

DH Tire inc.
6903 Lyons Ave.

 

 

Houston TX 77020
Date or dates debt was incurred

Last 4 digits of account number

 

3.35 Nonpriority creditor's name and mailing address

 

 

 

Dlstribution Now
359A O|d Underwood Rd, Ste D

is the claim subject to offset?

jz[ No
g Yes

As of the petition filing date, the claim is:

Chack ali that apply.
|:[ Contingeni

m Un|iquidated
|'_`| Dispuied

Basis for the claim:

 

 

 

La Porte TX 77571
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.36 Nonpriority creditor's name and mailing address

 

Dixie Pipe Saies, l..P

ls the claim subject to offset?

g No
m Yes

As of the petition filing date, the claim is:

Check all that appiy.
|:| Contingeni

|:| Unliquidaied
]:| Dispuied

Basis for the claim:

 

 

 

 

 

Dept #372

PO Box 4346

Houston TX 772‘| 0-4346
Date or dates debt was incurred

Last 4 digits of account number _3:_ __7__ _3_

Officia| Form ZOBE)'F

is the claim subject to offset?

No
[_':j Yes

As of the petition filing date, the claim is:

Check ali that appty.
|:] Contingeni

g Un|iquidated
|Zj Dispuied

Basis for the claim:
Judgment

is the claim subject to offset?

No
E| Yes

Scheduie EtF: Creditors Who Have Unsecured Claims

18~30849

Amount of claim

$11,250,00

$584.25

$15,071.00

$'17,012.89

page 11

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 27 of 76

Debtor Bendco, lnc. Case number (if known) 18-30849

Additional Page

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.37 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $5,347_50
Check ali that appiy.
DRDA, PLLC jj Contingent
1120 Bay Area Bivd. I:i Un"quidaied
['_'} Disputed
Basis for the claim:
Houston TX 77058
Date or dates debt was incurred is the Ciaim Sllblect to OHSet?
M No
Last 4 digits of account number __‘1___ mgm m§” ”_2_ |-_-| Yes
3.38 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $395_13
Check all that apply.
Dunn & Bradstreet |:j Contingent
Po sex 75542 |Il U"'iq“idaie€f
l:j Dispuled
Basis for the claim:
Chicago li_ 60675-5542
Date or dates debt was incurred lathe claim subject to offset?
g No
Last4 digits of account number _§__ __§__ _§__ _4__ g yes
3.39 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $167_94
Check all that apply.
DXP Enterprisesl inc. {CW Rod} m Contingent
Po sex 840511 [] U“li<wid@fed
m Dispuied
Basis for the claim:
Daiias TX 75284
Date or dates debt was incurred is the Ciaim SUbl'act to OHS€¥?
|_'_\Z[ i\|o
Last 4 digits of account number i l _0_ ____4____ |:| Yes
3.40 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $11,232_62
Check ali that apply.
E.T.i~{. Service Corporation jj Contingent
7527 Nlor|ey j:| Uniiquidated
n Dispuied
Basis for the claim:
Houston TX 77061
Date or dates debt was incurred is the claim subject to offset?
M i\io
Last 4 digits of account number _ __ ____ ____ g yes
Officia| Form 206E/F Schedule EtF: Creditors Who Have Unsecured Claims page 12

 

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Debtch Bendco, lnc.

m Additional Page

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previous page. lt no additional NONPR|ORETY creditors exist, do not fill out or submit this page.

 

 

3.41 Nonpriority creditor's name and mailing address

 

 

Eastern Nletal Supply
9400 Telge Road

 

 

Houston TX 77095
Date or dates debt was incurred

Last 4 digits of account number

 

3.42 Nonpriority creditor's name and maiiing address

 

 

 

Evoqua Water Technotogies
28563 Network Piace

 

 

Chicago iL 60673
Date or dates debt was incurred

Last 4 digits of account number

 

3.43 Nonpriority creditor's name and maiiing address

 

 

 

As of the petition filing date, the claim is:

Check atl that apply.
|:[ Contingent

|:| Unliquidated
m Dlsputed

Basis for the claim:

Case number (if known}

18-30849

 

 

is the claim subject to offset?

No
E:] Yes

As of the petition filing date, the claim is:

Check ali that apply.
|‘“_°| Contingent

g Uniiquidated
g Disputed

Basis for the claim:

 

 

 

 

 

 

Exact North America LLC

33044 Collections Center Drive

Chicago lL 60693-0330
Date or dates debt was incurred _

Last 4 digits of account number __Zm ___2__“ ”_§m ”§'__

 

 

 

3.44 Nonpriority creditor's name and mailing address

 

Farmer's Alioy Fabrication
210 Banana Street

 

 

Lamarque TX 77568
Date or dates debt was incurred

Last 4 digits of account number

Ofiiciai Form ZOBEIF

ls the claim subject to offset?
No
E Yes

As of the petition filing date, the claim is:

Check all that appty.
m Contingent

[;] Unliquidated
m Disputed

Basis for the ciairn:

 

ls the clalm subject to offset?

E[ No
m Yes

As of the petition filing date, the claim is:

Check ali that apply.
|:] Contingeni

m Unliquidated
f] Disputed

Basis for the claim:

 

ls the claim subject to offset?
No

m Yes

Schedule EIF: Creditors Who Have Unsecured Claims

Amount of claim

$585.00

$397.46

$2,763.84

$467.00

page 13

 

 

 

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Debtor Bendco, lnc.

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Case number (if known)

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previous page. lt no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

3.45 Nonpriority creditor's name and mailing address

 

 

 

Fastway Freight Systems

 

 

 

 

PO Box 87644

Houston TX 77287-7644
Date or dates debt was incurred

Last 4 digits of account number l _7_ _(_}_ _1__

 

 

 

3.46 Nonpriority creditor's name and mailing address

 

Federal Express Corp.
PO Box 660481

 

 

Daiias TX 75266
Date or dates debt was incurred

Last 4 digits ot account number L l 1 L

 

3.47 Nonpriority creditor's name and maiiing address

 

 

 

Fedex Freight
PO Box 10306

As of the petition filing date, the claim is:

Check all that app!y.
|:| Contingent

|:| Unliquidated
|:j Disputed

Basis for the claim:

18-30849

 

 

is the claim subject to offset?

§Z[ No
[:| Yes

As of the petition filing date, the claim is:

Check all that appiy.
|:] Contingent

m Uniiquidatecl
j;] Disputec|

Basis for the claim:

 

 

 

Patatine ii_ 60055
Date or dates debt was incurred

Last4 digits of account number

 

 

 

3.48 Nonpriority creditor's name and mailing address

 

Forrest Services LLC
2231 Sens Rd.

 

 

La Pot'te TX 77571
Date or dates debt was incurred

Last 4 digits of account number

Oificial Form ZOSEIF

ls the claim subject to offset?

M No
[:} Yes

As of the petition filing date, the claim is:

Check all that appty.
|:| Contingent

|:| Unliquidated
E Disputeci

Basis for the claim:

 

ls the claim subject to offset?

M No
m Yes

As of the petition filing date, the claim is:

Check ali that appiy.
m Contingent

[:] Unliquidated
m Dispuled

Basis for the claim:

 

is the claim subject to offset?

121 No
jj Yes

Schedule E!I-“-: Creditors Who Have Unsecured Claims

Amount of claim

$15,900.00

$891.83

$587.54

$2,106.00

page 14

 

 

 

 

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Debior Bendco, inc.

Additionai Page

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previous page. lt no additional NONPRlORlTY creditors exist, do not fill out or submit this page.

 

3.49 Nonpriority creditor's name and mailing address

 

 

 

G&A Partners
17220 Katy Fwy #350

 

 

Houston TX 77094
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.50 Nonpriority creditor's name and mailing address

 

GCT inspection
3208 Federa| Road

As of the petition filing date, the claim is:

Check alt that apply.
ij Contingent

g Unliquidated
jj Disputed

Basis for the claim:

Case number (it known)

 

 

 

Pasadena TX 77504
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.51 Nonpriority creditor's name and mailing address

 

Global Contact, lnc.
16 West Nlain Street

is the claim subject to offset?

[;_7_] No
g Yes

As of the petition filing date, the claim is:

Check atl that apply.
m Contingent

[°_“] Uniiquidated
l:i Disputed

Basis for the claim:

 

 

 

Nlariton NJ 08053
Date or dates debt was incurred

Last 4 digits of account number

 

3.52 Nonpriority creditor's name and mailing address

 

 

 

Gtobat Pon So|utions
9024 Scranton St

 

 

Houston TX 77075
Date or dates debt was incurred

Last 4 digits of account number

Oificia| Form 2GSE/F

is the claim subject to offset?

|Z No
|:[ Yes

As of the petition filing date, the claim is:

Check all that appty.
a Contingent

a Unliquidated
a Disputed

Basis for the claim:

 

ls the claim subject to offset?

|zl No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
j:] Centingent

ij Unliquidated
m Disputed

Basis for the claim:

 

ls the ctaim subject to offset?

M No
m Yes

Schedule EIF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$52,495.57

$1,397.39

$320.00

$463.84

page 15

 

 

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Debtor Bendco, inc.

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Case number (if known)

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previous page. lt no additional NONPREOR|TY creditors exist, do not fill out or submit this page.

 

3.53 Nonpriority creditor's name and mailing address

 

 

 

Grainger
Dept 804255479
PO Box 419267

 

Kansas City MO
Date or dates debt was incurred

Last 4 digits of account number _,I_'L _4__ __7'__ _§_

 

 

 

3.54 Nonpriority creditor's name and mailing address

 

Grayson Armature Works, inc
315 Curtis Ave

64141-6267

As of the petition filing date, the ciaim is:

Check alt that appty.
E Contingent

g Unliquidated
g Disputed

Basis for the claim:

18-30849

 

 

 

 

Pasadena TX 77502
Date or dates debt was incurred

Last 4 digits of account number

 

3.55 Nonpriority creditor's name and mailing address

 

 

 

Great Western Nletais
14121 Guif Freeway

 

 

Houston TX 77034
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.56 Nonpriority creditor's name and mailing address

 

Green Nlachine & Tool, lnc.
Shane Churchill
1007 Pennsylvania

is the claim subject to offset?

M No
m Yes

As of the petition filing date, the ciaim is:

Check all that appty.
m Contingent

m Unliquidated
[‘_“j Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
[] Yes

As of the petition filing date, the claim is:

Check ali that apply.
|:| Conllngent

]___| Unliquidated
m Disputed

Basis for the claim:

 

 

South Houston TX 77587
Date or dates debt was incurred

J..ast 4 digits of account number

Officiai Form 206Eti:

ls the claim subject to offset?

|Z[ No
m Yes

As of the petition filing date, the ciaim is:

Check all that appty.
[_‘_"} Contingent

[:] Unliquidated
E/] Disputeci

Basis for the ciaim:

 

ls the claim subject to offset?

M No
[_“_“} Yes

Schedule EIF: Creditors Who Have Unsecured Claims

Amount of claim

$3,330.17

$895.00

$20,478.89

$10,000.00

page 15

 

 

 

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Debter Bendco, lnc.

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previous page. if no additional NONPR|OR|TY creditors exist, do not fi|i out or submit this page.

 

 

 

3.57 Nonpriority creditor's name and mailing address

 

Harvard Weiding Supply Co, inc.
PO Box 502

 

 

Ga|ena Park TX 77547

Date or dates debt was incurred

Last 4 digits of account number 1 _4_ 1 L

 

3.58 Nonpriority creditor's name and maiiing address

 

 

 

HCTRA - Violations
Dept 1
PO Box 4440

 

Houston Tx 77210-4440
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.59 Nonpriority creditor's name and maiiing address

 

Herc Rentals, lnc.
PO Box 650280

As of the petition tiiing date, the claim is:

Check atl that apply.
m Contingent

jj Unliquidated
|:] Disputed

Basis for the claim:

18-30849

 

 

ls the claim subject to offset?

g No
jj Yes

As of the petition filing date, the claim ls:

Check atl that apply.
g Contlngent

g Untiquidated
|:| Disputed

Basis for the claim:

 

 

 

 

Daiias TX 75265-0280
Date or dates debt was incurred
Last4 digits ot account number __»¢_l._M _§____ __§___ __§*_

 

3.60 Nonpriority creditor's name and mailing address

 

 

 

Horizon Fiuid Power lnc.
PO Box 820823

 

 

Houston TX 77282-0823
Date or dates debt was incurred

Last 4 digits of account number

Officiai Form 206EIF

ls the claim subject to offset?

[zf No
m Yes

As of the petition filing date, the claim is:

Check ali that appty.
E Contingeni

jj Unliquidated
|Z Disputed

Basis for the claim:
Service pump & compressor

ls the claim subject to offset?

E] No
[_] Yes

As of the petition filing date, the claim is:

Check all that appty.
|_'_] Contingeni

|:] Unliquidated
m Disputed

Basis for the claim:

 

ls the claim subject to offset?

No
[:} Yes

Schedule EtF: Creditors Who Have Unsecured Claims

Amount of ciaim

$2,684.40

$396.00

$20,592.05

$1,900.00

page 17

 

 

 

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Debtor Bendco, lnc.

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previous page. |f no additional NONPRlORlTY creditors exist, do not fi|i out or submitthis page.

 

3.61 Nonpriority creditor's name and mailing address

 

 

 

Hunter, inc.
PO Box 6097

 

 

Pasadena TX 77506
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.62 Nonpriority creditor's name and mailing address

 

iH'i'S lnspection, LLC
11318 Hirsch Rd

As of the petition filing date, the claim is:

Check atf that apply.
m Contlngent

m Uniiquidated
j'_'_} Disputed

Basis for the claim:

Case number (if known)

18-30849

 

 

 

 

Houston TX 77016
Date or dates debt was incurred

Last 4 digits of account number

 

3.63 Nonpriority creditor's name and mailing address

 

 

 

lnductoheat
32251 N. Avis Dr.

ls the claim subject to offset?

|zf No
|:E Yes

As of the petition filing date, the claim is:

Check alil that appty.
|:| Contingent

E Unliquidated
m Disputed

Basis for the claim:

 

 

 

ililadison Heights Nll 48071
Date or dates debt was incurred

Last4 digits of account number

 

3.64 Nonpriority creditor's name and mailing address

 

 

 

lRlS NDT, inc
1115 W. 41st St.

is the claim subject to offset?

w No
§§ Yes

As of the petition filing date, the claim is:

Check ali that apply.
g Contingeni

g Unliquidated
jj Disputed

Basis for the claim:

 

 

 

Tulsa OK 74107
Date or dates debt was incurred

Last 4 digits of account number

Oificia| Form ZOGEJ'F

ls the claim subject to offset?

121 No
|:] Yes

As of the petition filing date, the claim is:

Check att that apply.
m Contingenl

g Unliquidated
g Disputed

Basis for the claim:

 

is the claim subject to offset?

No
j"_`i Yes

Schedule EtF: Creditors Who i-lave Unsecured Claims

Amount of claim

$1,349.24

$3,904.16

$3,000.75

$20,225.30

page 18

 

 

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Debtor Bendco, lnc. Case number (if known) 18-30849

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previous page. lf no additional NONPREOR|TY creditors exist, do not tii| out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.65 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $309_17
Check all that appty.
IWS Gas & Supp|y of Texas, i_td. [_j Contingent
4117 Fair Drive |___j Unliquidate€i
n Disputed
Basis for the claim:
Pasadena TX 77507-1734
Date or dates debt was incurred is the claim subject to offset?
No
Last 4 digits of account number _ ____ __ § Yes
3.66 Nonpriority creditor's name and maiiing address As of the petition filing date, the claim is: $300_00
Check all that appty.
J&J Landscaping jj Contingent
4822 Brower Crest Dr l:l Unliquidated
m Disputed
Basis for the ciairn:
Pasadena TX 77504
Date or dates debt was incurred |S the Claim SUbj@'-"t to OHSet'-"
No
Last 4 digits of account number _ _ __ Yes
3.67 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $1,470_00
Check all that apply.
J.W. Lowes, |ii, P.C. g Contingent
17225 El camino Real, ste. 400 ij Unliquidated
g Disputed
Basis for the claim:
Houston TX 77058
Date or dates debt was incurred |5 the Claim SUbiECt to °Hsei?
m No
Last 4 digits of account number m __ _ g Yes
3.68 Nonpriority creditor's name and maiiing address As of the petition filing date, the claim is: $92’500_00
Check all that apply.
James A. Frl'el’y L'] Contingent
801 Houston Ave. [:l Unliquidated
[:| Disputed
Basis for the claim:
Pasadena TX 77502
Date or dates debt was incurred |5 the Claim Subie€t to OHSBt?
No
Last 4 digits of account number ____ ____ _ _ Yes
Officiat Form ZOGEFF Schedule EJ'F: Creditors Who Have Unsecured Claims page 19

 

 

 

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Debtor Bendco, lnc.

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Case number (if known)

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previous page. |f no additional NONPRlOR|TY creditors exist, dc net fill outer submit this page.

 

 

 

3.69 Nonpriority creditor's name and maiiing address

 

John Tharp
PO Box 1436

 

 

Dickinson TX 77536
Date or dates debt was incurred

Last 4 digits of account number

 

3.70 Nonpriority creditor's name and mailing address

 

 

 

John W Watkins, DDS
3351 Plainvies, Ste A‘i

 

 

Pasadena TX 77504
Date or dates debt was incurred

Last 4 digits of account number

 

3.71 Nonpriority creditor's name and mailing address

 

 

 

Jones Delivery Service
3008 112 Cliffdale

As of the petition filing date, the claim is:

Check all that apply.
[_°:t Contingent

|:| Unliquidated
|:| Disputed

Basis for the claim:

 

ls the claim subject to offset?

|_7_'[ No
L__| Yes

As of the petition filing date, the claim is:

Check all that apply.
|___‘ Contingent

|:] Unliquidated
|:} Disputecl

Basis for the claim:

 

 

 

Houston TX 77091
Date or dates debt was incurred

Last 4 digits of account number

 

3.72 Nonpriority creditor's name and mailing address

 

 

 

Knight Capital Funding ll
9 East Lockerman St #3A~543

ls the claim subject to offset?

m No
E] Yes

As of the petition filing date, the claim is:

Check all that apple
g Contingent

j:| Uniiquidated
g Disputed

Basis for the claim:

 

 

 

Dover DE 19001
Date or dates debt was lncurrecl

Last 4 digits of account number

Otficial Form ZOBEIF

ls the claim subject to offset?

No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
g Contingent

m Unliquidated
l'_] Disputed

Basis for the claim:

 

is the claim subject to offset?

E/] No
L'_] Yes

Schedule EiF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$431.01

$1,788.00

$3,596.00

$100,000.00

page 20

 

 

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Debtor Bendco, lnc.

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previous page. lt no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

 

 

 

La lgiesia del Pueb|o
1600 Pasadena Blvd.

3.73 Nonpriority creditor's name and mailing address

 

 

Pasadena
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

L.B Foster Ba|l Winch
PO Box 643343

TX 77502

3.74 Nonpriority creditor's name and mailing address

 

 

Pittsburgh

Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Lone Star Forkiift
4213 Forest Ln

PA 15264-3343

1111

3.75 Nonpriority creditor's name and mailing address

 

 

Garland
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

i_one Star Heat Treating Corp.
PO Box 15621

TX 75042

3.76 Nonpriority creditor's name and malling address

As of the petition filing date, the ciaim is:

Check all that apply.
|:| Contingent

jj Unliquidated
n Disputed

Basis for the claim:

 

ls the claim subject to offset?

g No
|:[ Yes

As of the petition filing date, the claim is:

Check all that apply
g Contingeni

a Unliquidated
q Dispuied

Basls for the claim:

 

ls the claim subject to offset?

No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
|:l Contingent

|:| Unliquidated
E[ Disputed

Basis for the claim:

 

 

 

Houston
Date or dates debt was incurred

Last 4 digits of account number

Official Form ZOBEIF

TX 77220~5621

ls the claim subject to offset?

M No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
g Contingent
l'_'| Unliquidated

g Disputed

Basis for the claim:

 

is the claim subject to offset?

121 No
m Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$300.00

$24,024.81

$2,438.42

$4,069.70

page 21

 

 

 

 

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Debior Bendco, lnc.

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Case number (if known)

18-30849

 

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previous page. lf no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

3.77 Nonpriority creditor's name and mailing address

 

 

 

Lone Star Stain|ess & Supply Co.
PO Box 8508

 

 

Bacliff TX 77518
Date or dates debt was incurred

Last 4 digits of account number

 

3.78 Nonpriority creditor's name and mailing address

 

 

 

Loren D. Stark Company
10750 Rock|ey Road

As of the petition filing date, the claim ls:

Check all that apply.
m Contingent

[:| Unliquidated
]_”_] Disputed

Basis for the claim:

 

 

 

Houston TX 77099
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.79 Nonpriority creditor's name and mailing address

 

Nlaintenance Repair Service
PO Box 118?6

 

 

Houston TX
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.80 Nonpriority creditor's name and mailing address

 

Nlid South Fabrication & Welding
25000 Pitkin Road, Ste. 270

77293-1876

ls the claim subject to offset?

M No
|:| Yes

As of the petition filing date, the claim is:

Check all that apply.
|:[ Contingent

|:[ Unliquidated
m Dlsputed

Basis for the claim:

 

ls the claim subject to offset?

ja No
[] Yes

As of the petition filing date, the claim is:

Check all that apply.
]:| Contingenl

g Unliquidated
g Disputed

Basis for the claim:

 

 

 

Spring TX 77386
Date or dates debt was incurred

Last 4 diglts of account number

Otficial Form 206ElF

ls the claim subject to offset?

No
|_"_| Yes

As of the petition fi||ng date, the claim is:

Check all that apply.
jj Contlngent

jj Uniiquidated
|Zf Disputed

Basis for the claim:

 

ls the claim subject to offset?

M No
ij Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$2,225.40

$3,105.00

$2,600.00

$3,400.00

page 22

 

 

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m Additional Page

 

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previous page. lf no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.81 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $24_21
Check all that apply.
lllli|es Service Corporation |'_‘} Contingent
2915 Preston |:[ Unliquidale<i
|:[ Disputed
Basis for the claim:
Pasadena TX 77502
Date or dates debt was incurred 33 the Claim Sllbiect to offset?
No
Last 4 digits of account number ___ ___ ___ § Yes
3.82 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $121_00
Check all that apply.
Nationwlde Trailers PA g Contingent
5319 Spencer HWY ij Unliquidated
m Disputed
Basis for the claim:
Pasadena TX 77505
Date or dates debt was incurred |S the Ciaim Sublect t0 OHSBt?
m Nc
Last 4 digits of account number _ _ _ r:| Yes
3.83 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $551_19
Check all that apply.
Occupational lllledical Care g Contingent
p0 Box 5665 g Unliquidated
g Dispuled
Basis for the claim:
Pasadena TX 77508
Date or dates debt was incurred is the claim subject to offset?
121 No
Last 4 digits of account number m __ _ m Yes
3.84 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $2’667_30
Checl< all that apply.
Oftice Depot m Contingent
PO Box 689020 m Unliquidated
[:i Disputed
Basis for the claim:
Des |Vloines lA 50368
Date or dates debt was incurred ls the claim subject to offset?
M No
Last4 digits of account number ____ ____ _ _ m Yes
Otficial Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims page 23

 

 

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Debtor Berldco, lnc. Case number (if known) 18-30849

Additional Page

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prev|ous page. if no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.85 Nonpriority creditor's name and mailing address As of the petition filing date, the clalm is: $3,496_72
Check all that apply.
Oil Patch NDT, LLC E Contingent
2104 Seventh Street, Ste. B ij Unliquidaf€d
Dis uted
ij P
Basis for the claim:
seabrook Tx 77586 Judement
Date or dates debt was incurred |S the Claim Subje€i fO OffSef?
No
Last 4 digits of account number __ _ _ Ye$
3.86 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $16’455'59
Check all that apply.
Omnipotech L'i`D j:'] Contingent
11422A Craighead Dr I:] Unliquidade
g Disputed
Basis for the claim:
Houston TX 77025
Date or dates debt was incurred is the claim subject to offset?
M No
Last 4 digits of account number ___ ____ _ g yes
3.87 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $0_40
Check all that apply.
ONESlS insurance Company m Contingent
Po cox 217903 [3 Unliquidated
[_'} Dlsputed
Basis for the claim:
Atlanta GA 30384
Date or dates debt was incurred |S 1119 Claim SUbjer to Offset?
|Z| No
Last 4 digits of account number w _______ m n Yes
3.88 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $5,405_00
Check all that appty.
P & B Testing lnc. jj Contingent
PO Box 924469 [:f Unliquidated
[‘:] Disputed
Basis for the claim:
Houston TX 77292
Date or dates debt was incurred ls the claim subject to offset?
No
l_ast 4 digits of account number __ ___ ____ ____ I:] Yes
Official Form 206E/F Schedule ElF: Creditors Who Have Unsecured Claims page 24

 

 

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Debtor Bendco, lnc.

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Case number (if known)

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previous page. if no additional NONPRlOR|TY creditors existl do not fill outer submit this page.

 

3.89 Nonpriority creditor's name and mailing address

 

 

 

Palladian Publications
15 South Street
Farnham Surrey

GU9 7QU

As of the petition filing date, the claim is:

Check all that apply.
g Contingenl

l:| Unliquidated
m Disputed

Basis for the claim:

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.90 Nonpriority creditor's name and mailing address

 

Pasadena Chamber of Commerce
4334 Fairrnont Parkway #2514

 

 

Pasadena TX 77504
Date or dates debt was incurred

Last 4 digits of account number

 

3.91 Nonpriority creditor's name and mailing address

 

 

 

Pasadena Printing
630 Kentucky Street

ls the claim subject to offset?

No
|:] Yes

As of the petition filing date, the claim is:

Check all that applj,rl
[:] Contingent

[_] Unliquidated
|:| Dispuled

Basis for the claim:

 

 

 

South Houston TX 77587
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.92 Nonpriority creditor's name and mailing address

 

Patriot Fire & Saiety, LLC
PO Box 1861

ls the claim subject to offset?

g No
ij Yes

As of the petition filing date, the claim is:

Checl< all that apply.
m Contingent

g Unliquidated
m Disputed

Basis for the claim:

 

 

 

Deer Parl< TX 77536
Date or dates debt was incurred

Last 4 digits of account number

Official Form ZOGElF

ls the claim subject to offset?

|z[ No
|'_'| Yes

As of the petition filing date, the claim is:

Check all that apply.
]:“_'| Contingent

]:] Unliquidated
m Disputed

Basis for the claim:

 

ls the claim subject to offset?
No

jj Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$4,824.40

$350.00

$484.96

$684.82

page 25

 

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Debtor Bendco, inc.

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Case number (if known)

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

 

 

3.93 Nonpriority creditor's name and maiiing address

 

Pegasus inspections & Testing
2016 Haro[d Street

 

 

Houston T)( 77098
Date or dates debt was incurred

Last 4 digits of account number

 

3.94 Nonpriority creditor's name and mailing address

 

 

 

Perry Johnson Consuiting, lnc.
PO Box 397

As of the petition fiiing date, the claim is:

Check all that appty.
jj Contingent

j:| Unliquidated
E Dispufed

Basis for the claim:

 

 

 

Ciawson Nii 48017
Date or dates debt was incurred

Last 4 digits of account number

 

3.95 Nonpriority creditor's name and mailing address

 

 

 

Perry Johnson Registrars lnc.
755 W. Big Beaver, Ste. 1340

is the claim subject to offset?

No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
jj Contingent

[:] Unliquidated
j°_“] Disputed

Basis for the claim:

 

 

 

Troy i\lil 48084
Date or dates debt was incurred

Last 4 digits of account number

 

3.96 Nonpriority creditor's name and mailing address

 

 

 

Petrochem inspection Services
PO Box 5488

 

 

Pasadena TX
Date or dates debt was incurred

Last 4 digits of account number

Officia| Form 206ElF

77508-5486

ls the claim subject to offset?

|zj No
|:| Yes

As of the petition filing date, the claim is:

Check all that apply.
m Contingent

|:] Uniiquidated
['_'] Disputec|

Basis for the claim:
Judgrnent

is the claim subject to offset?

Ef No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
l“_‘] Contingent

m Unliquidated
jj Disputed

Basis for the claim:

 

is the claim subject to offset?

|z[ No
[:] ¥es

Schedule ElF: Creditors Who Have Unsecured Claims

18~30849

Amount of claim

$160.00

$3,108.19

$10,943.13

$11,214.70

page 26

 

 

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Deblor Bendco, lnc.

m Additional Page

Case number (if known)

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

3.97 Nonpriority creditor's name and mailing address

 

 

 

Pitney Bowes Giobai Financiai
PO Box 371887

 

 

Pittsburgh
Date or dates debt was incurred

Last 4 digits of account number 1 L l l

 

 

 

3.98 Nonpriority creditor's name and mailing address

 

Plilii Speciaiists, lnc.
1106 West Lobit

PA 15250-7887

 

 

Baytown TX 77520
Date or dates debt was incurred

Last 4 digits of account number

 

3.99 Nonpriority creditor's name and mailing address

 

 

 

PowerSave Solutions
1214 Ridgeley Dr.

As of the petition filing date, the claim is:

Check all that apply.
jj Contingent

|:j Unliquidated
jj Dispuled

Basis for the claim:

 

is the claim subject to offset?

§§ No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
|:] Contingeni

[:] Unliquidated
j‘_°] Disputed

Basis for the claim:

 

 

 

Houston `l'X 77055
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.100 Nonpriority creditor's name and maiiing address

 

Praxair
10 Riverview Dr.

 

 

Danbury CT 06810
Date or dates debt was incurred

Last 4 digits of account number

Officia| Form 206EIF

Is the claim subject to offset?

E] No
|:| Yes

As of the petition tiiing date, tbe claim is:

Check all that apply.
m Contingent

|___| Unliquidated
[:j Disputed

Basis for the claim:

 

is the claim subject to offset?

jz[ No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
[‘_] Contingent

E] Unliquidated
[_“_] Dispuied

Basis for the claim:

 

is the claim subject to offset?

]z[ No
{:] Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$25,524.08

$'i ,500.00

$1,682.32

$16,497.54

page 27

 

 

 

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Debior Bendco, lnc.

Additional Page

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previous page. if no additional NONPR|ORITY creditors exist, do not fi|i out or submit this page.

 

 

 

3.101 Nonpriority creditor's name and mailing address

 

Production lilietai Sawing
7515 Canai St.

 

 

Houston TX 7701'¥
Date or dates debt was incurred

Last 4 digits of account number

 

3.102 Nonpriority creditor's name and mailing address

 

 

 

Protection One Secuity So|utions
PO Box 219044

As of the petition fiiing date, the claim is:

Check all that apply.
['_'J Contingeni

E] Unliquidated
L___j Disputed

Basis for the claim:

Case number (ii known)

 

 

 

Kansas City NiO 64121
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.103 Nonpriority creditor's name and mailing address

 

Purchase Power
PO Box 371874
Pittsburgh, PA15250-7874

is the claim subject to offset?

|Z[ No
j:| Yes

As of the petition filing date, the claim is:

Checl< all that apply.
jj Contingent

jj Unliquidated
|:[ Disputed

Basis for the claim:

 

 

is the claim subject to offset?

[zj No
[:] Yes

As of the petition filing date, the claim is:

Checlr all that apply.
j:j Contingent

|:| Unliquidated
jj Disputed

Basis for the claim:

 

 

Date or dates debt was incurred

Last 4 digits of account number m“__{m mgm win ____9m

 

3.'¥04 Nonpriority creditor's name and mailing address

 

 

 

R&L Carriers
PO Box 10020

 

 

Port Wiliiam OH
Date or dates debt was incurred

l_ast 4 digits of account number

Official Form 206ElF

is the claim subject to offset?

M No
ij Yes

As of the petition filing date, the claim is:

Checlr all that apply.
jj Contingeni

g Unliquidated
jj Disputed

Basis for the claim:

 

45164-2000

is the claim subject to offset?

M No
jj Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$3,417.50

$559.58

$195.51

$243.66

page 28

 

 

 

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Debtor Bendco, lnc.

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Case number (if known)

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

3.105 Nonpriority creditor's name and mailing address

 

 

 

Red Bali Oxygen
PO Box 7316

 

 

Shreveport LA
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.106 Nonpriority creditor's name and mailing address

 

Red Cooper
501 Raiiroad Ave.

71 137-731 6

As of the petition filing date, the claim is:

Check all that apply.
jj Contingent

jj Unliquidated
E Disputed

Basis for the claim:

18-30849

 

 

 

 

Aiarno TX 7851 6
Date or dates debt was incurred

Last 4 digits of account number

 

 

3.107 Nonpriority creditor's name and mailing address

 

 

Red's Safe And Lock Service
220 Pasadena Blvcl.

is the claim subject to offset?

m No
m Yes

As of the petition filing date, the claim is:

Check all that apply.
L"_] Contingent

m Unliquidated
E“_‘_j Disputed

Basis for the claim:

 

 

 

Pasadena 'l'X 77506
Date or dates debt was incurred

Last 4 digits of account number

 

3.108 Nonpriority creditor's name and mailing address

 

 

 

Reiiant Energy
PO Box 650475

is the claim subject to offset?

M No
E] Yes

As of the petition filing date, the claim is:

Check all that apply.
jj Contingeni

jj Unliquidated
m Disputed

Basis for the claim:

 

 

 

Daiias TX 75265
Date or dates debt was incurred

Last 4 digits of account number

Ofiiciai Form ZOSEIF

is the claim subject to offset?

|z[ No
[:] Yes

As of the petition filing date, the claim is:

Check all that apply.
[__'_] Contingent

m Unliquidated
l:] Dispuied

Basis for the claim:

 

ls the claim subject to offset?

M No
m Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$2,328.16

$131.28

$521 .26

$8,942.56

page 29

 

 

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Debtor Bendco, lnc.

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Case number (if known)

18~30849

 

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previous page. if no additional NONPR|ORlTY creditors exist, do not fill outer submit this page.

 

3.109 Nonpriority creditor's name and mailing address

 

 

 

Repubiic Heat 'l'reat
PO Box 10203

 

 

Houston TX 77206
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.110 Nonpriority creditor's name and mailing address

 

Rick Friery
2407 lntrepid Way

 

 

League City TX 77573
Date or dates debt was incurred

Last 4 digits of account number

 

3.'|11 Nonpriority creditor's name and mailing address

 

 

 

Rite inspection Services
8484 Breen

 

 

Houston TX 77064
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.112 Nonpriority creditor's name and mailing address

 

Rodney Friery
4001 Woody Guthrie Court

As of the petition filing date, the claim is:

Check all that apply.
g Contingent

jj Uniiquidaled
g Disputed

Basis for the claim:

 

is the claim subject to offset?

w No
[_':i Yes

As of the petition filing date, the claim is:

Check all that apply.
[;j Contingent

[_'_] Unliquidated
[:] Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
a Yes

As of the petition filing date, the claim is:

Checl< all that appty.
jj Contingenl

jj Unliquidated
["_'j Dispuied

Basis for the ciaim:

 

 

 

Deer Fark TX 77536
Date or dates debt was incurred

Last 4 digits of account number

Official Form ZUE)`ElF

is the claim subject to offset?

]z[ No
m Yes

As of the petition filing date, the claim is:

Check all that apply
m Contingent

m Uniiquidafed
m Disputed

Basis for the claim:

 

ls the ciaim subject to offset?

M No
j:] Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$'1,100.00

$4,315.00

$910.00

$26,269.5‘1

page 30

 

 

 

 

 

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Debior Bendco, lnc.

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Case number (if known)

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

3.113 Nonpriority creditor's name and mailing address

 

 

 

Russell Craft & Schulz
1002 Gemini, Ste. 130

 

 

Houston “i“X 77058
Date or dates debt was incurred

Last 4 digits of account number

 

3.114 Nonpriority creditor's name and mailing address

 

 

 

SAiA i\liotor Freight Line, lnc.
PO Box 730532

As of the petition filing date, the claim is:

Check all that apply.
jj Contingent

jj Unliquidated
|:[ Dispuied

Basis for the claim:

 

 

 

Daiias TX 75373
Date or dates debt was incurred

Last 4 digits of account number

 

3.115 Nonpriority creditor's name and mailing address

 

 

 

Scot lndustries, lnc.
PO Box 910018

is the claim subject to offset?

m No
[:] Yes

As of the petition filing date, the claim is:

Check all that apply.
53 Contingent

[:] Unliquidated
j:] Disputed

Basis for the claim:

 

 

 

Daiias T)( 75391
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.116 Nonpriority creditor's name and mailing address

 

Service Steel Warehouse, LP
PO Box 843965

ls the claim subject to offset?

|z[ No
[“_‘] Yes

As of the petition filing date, the claim is:

Checl< all that apply.
g Contingeni

j:j Unliquidated
g Disputed

Basis for the claim:

 

 

 

Daiias TX
Date or dates debt was incurred

Last 4 digits of account number

Otficiai Form ZGBElF

75284-3965

is the claim subject to offset?

|;_7[ No
[:] Yes

As of the petition filing date, the claim is:

Check all that apply.
[:] Contingent

m Unliquidated
m Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
l_"_i Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$500.00

$916.99

$6,‘184.97

$14,908.33

page 31

 

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Debior Bendco, lnc.

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previous page. if no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

3.117 Nonpriority creditor's name and mailing address

 

 

 

Smithco industries
Safety Division
8918 Wayfarer Lane

 

Houston TX 77075
Date or dates debt was incurred

Last 4 digits of account number

 

3.118 Nonpriority creditor's name and maiiing address

 

 

 

South Coast Supp|y Co.
PO Box 55649

As of the petition filing date, the claim is:

Check all that apply.
|:] Contingent

['_"} Uniiquidated
[:] Disputed

Basis for the claim:

Case number (if known)

 

 

 

Houston TX 77255
Date or dates debt was incurred

Last4 digits of account number

 

 

 

3.119 Nonpriority creditor's name and mailing address

 

Southwest Stain|ess and A|loy
PO Box 951037

ls the claim subject to offset?

M No
ij Yes

As of the petition filing date, the claim is:

Check ali that apply.
jj Contingent

g Unliquidated
g Disputed

Basis for the claim:

 

 

 

Daiias TX
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.120 Nonpriority creditor's name and maiiing address

 

Sparkletts
PO Box 660579

75395-1037

ls the claim subject to offset?

|Z{ No
|:j Yes

As of the petition filing date, the claim is:

Chec:k all that appiy.
[:| Contingent

m Unliquidated
|:] Disputed

Basis for the ciaim:

 

 

 

Daiias TX 75266
Date or dates debt was incurred

Last4 digits of account number

Oificiai Form 206EtF

ls the claim subject to offset?
No
g Yes

As of the petition filing date, the claim is:

Check all that app!y.
|:| Contingent

jj Unliquidated
|:| Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
m Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$526.90

$75.70

$3,980.80

$1,893.06

page 32

 

 

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Deb!or Bendco, inc.

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previous page. if no additional NONPRIOR|TY creditors exist, do not fi|| outer submit this page.

 

 

 

3.121 Nonpriority creditor's name and mailing address

 

Speciaity Heat Treat, lnc.
PO Box 40637

 

 

Houston TX
Date or dates debt was incurred

Last 4 digits of account number

 

3.122 Nonpriority creditor's name and mailing address

 

 

 

Stericycie Communications So|.
26604 Networi< Piace

77240-0637

As of the petition fiiing date, the claim is:

Check all that appty.
|:| Contingent

jj Unliquidated
E Disputed

Basis for the claim:

Case number (if known)

‘i 8-30849

 

 

 

 

Chicago iL 60673
Date or dates debt was incurred

Last 4 digits of account number 1 1 1 1

 

3.123 Nonpriority creditor's name and maiiing address

 

 

 

Superior induction
557 Dougias St.

is the ciaim subject to offset?

|z[ No
[_”:| Yes

As of the petition filing date, the claim is:

Check aii that appiy.
{_'_] Contingent

m Unliquidated
[:i Disputed

Basis for the claim:

 

 

 

Pasadena TX 91104

Date or dates debt was incurred

Last 4 digits of account number

 

3.124 Nonpriority creditor's name and mailing address

 

 

 

Team industrial Services lnc.
PO Box 842233

ls the claim subject to offset?

|J No
|:| Yes

As of the petition filing date, the claim is:

Check ali that appiy.
jj Contingent

m Unliquidated
g Disputed

Basis for the claim:

 

 

 

Daiias 'i`X
Date or dates debt was incurred

Last 4 digits of account number

Otficia| Form 206ElF

75284~2233

is the claim subject to offset?

M i\lo
j'_'_] Yes

As of the petition filing date, the claim is:

Check atl that apply.
[_'_'_] Contingeni

[”_”'i Unliquidated
[_] Disputed

Basis for the claim:

 

ls the claim subject to offset?

|z[ No
[_'] Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$7,401.25

$1,126.39

$4,375.00

$35,028.00

page 33

 

 

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Debior Bendco, lnc.

m Additionai Page

Case number (if known)

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previous page. if no additional NONPR|OR|TY creditors exist, do not fili outer submit this page.

 

3.125 Nonpriority creditor's name and mailing address

 

 

 

Tech induction
13129 23 Niile Road

 

 

Sheiby Township Nii 48315
Date or dates debt was incurred

Last 4 digits of account number

 

3.126 Nonpriority creditor's name and mailing address

 

 

 

Techorr
1485 E Sam Houston Pkwy South
Suite 160

As of the petition filing date, the claim is:

Check all that appty.
[] Contingent

g Unliquidated
ij Disputed

Basis for the claim:

 

 

Pasadena TX 77503
Date or dates debt was incurred

Last4 digits of account number

 

3.127 Nonpriority creditor's name and mailing address

 

 

 

Technicai Aiioy & ind Gas Co
PO Box 692125

is the claim subject to offset?

]z[ No
g Yes

As of the petition fiiing date, the claim is:

Check all that appiy.
[_'] Contingent

|:j Unliquidated
m Disputed

Basis for the claim:

 

 

 

is the claim subject to offset?

[\ZI No
[:] Yes

As of the petition filing date, the claim is:

Check all that appiy.
g Contingeni

g Unliquidated
E Disputed

Basis for the claim:

 

 

i-iouston TX 77269-2125
Date or dates debt was incurred
Last 4 digits of account number ”Q__ L 1 L

 

 

 

3.128 Nonpriority creditor's name and mailing address

 

Texas Honing
PO Box 2008640

 

 

Houston TX 77216
Date or dates debt was incurred

Last 4 digits of account number

Otficiai Form 206EtF

is the claim subject to offset?

No
[”_'| Yes

As of the petition filing date, the claim is:

Check all that appty.
m Contingent

m Unliquidated
E| Disputed

Basis for the claim:

 

[s the claim subject to offset?

M No
L'] Yes

Schedule ElF: Creditors Who Have Unsecured Ciaims

1 8-30849

Amount of claim

$51,091.70

$3,743.(}0

$14,652.66

$1,596.55

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Debter Bencico, lnc.

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Case number (if known}

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

 

 

 

“l'exas Pipe & Suppiy Co.
PO Box 301052

3.129 Nonpriority creditor's name and mailing address

 

 

Daiias
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Texas Stress lnc.
PO Box 1089

TX 75303-1052

3.130 Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:

Check all that apple
m Contingent

f_‘] Uniiquidated
M Disputed

Basis for the claim:

 

 

 

Deer Park
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Tioga Pipe, inc.
W510074
PO Box 7777

TX 77536

3.131 Nonpriority creditor‘s name and mailing address

is the claim subject to offset?

|Z[ No
|:[ Yes

As of the petition filing date, the claim is:

Check alt that appty.
jj Contingent

g Unliquidated
jj Disputed

Basis for the claim:

 

 

Phiiadelphia
Date or dates debt was incurred

Last4 digits of account number

 

 

 

 

Too|s For Bending lnc.
194 West Dakota Ave.

PA 19175-0074

3.132 Nonpriority creditor's name and mailing address

is tile claim subject to offset?

LV__[ i\|o
m Yes

As of the petition filing date, the claim is:

Check all that appiy.
g Contingent

jj Unliquidated
n Disputed

Basis for the claim:

 

 

 

Denver
Date or dates debt was incurred

Last 4 digits of account number

Oificial Form ZOBEtF

CO 80223

is the claim subject to offset?

No
|:f Yes

As of the petition filing date, the claim is:

Check alt that apply.
m Contingent

|:i Unliquidated
jj Disputed

Basis for the claim:

 

is the claim subject to offset?

No
jj Yes

Schedule ElF: Creditors Who Have Unsecured Claims

18-30849

Amount of claim

$16,374.05

$1,500.00

$13,717.60

$2,796.47

page 35

 

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 51 of 76

Debtor Bendco, lnc.

m Additionai Page

Case number {if known)

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR!ORITY creditors exist, do not fill outer submit this page.

 

3.'i33 Nonpriority creditor's name and mailing address

 

 

 

Triiogy iViachinery lnc.
4601 Richlynn Drive

 

 

Beicamp iiiiD 21017
Date or dates debt was incurred

Last 4 digits of account number

 

3.134 Nonpriority creditor's name and mailing address

 

 

 

TUV Rheiniand ind Solutions
PO Box 417532

As of the petition filing date, the claim is:

Checl< all that appiy.
|:| Contingeni

g Unliquidated
g Disputed

Basis for the claim:

 

 

 

Boston iiiiA
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.135 Nonpriority creditor's name and maiiing address

 

“i'XU Energy
PO Box 650638

02241-'7532

is the claim subject to offset?

m No
|:E Yes

As of the petition filing date, the claim is:

Chectc atl that apply.
jj Contingent

|:i Uniiquidated
|Zj Disputed

Basis for the claim:

 

 

 

Daiias TX 75265
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.136 Nonpriority creditor's name and mailing address

 

Tyco integrated Security
PO Box 371967

is the claim subject to offset?

|Z[ No
|:| Yes

As of the petition filing date, the claim is:

Check all that appty.
[:} Contingent

i_'_] Unliquidated
M Disputed

Basis for the claim:

 

 

 

Pitfsburgh PA 15250
Date or dates debt was incurred

Last 4 digits of account number

Otficia! Form 206EIF

is the claim subject to offset?

i_?_j No
g Yes

As of the petition fiiing date, the claim is:

Checl< all that appty.
|:| Contingent

|:| Unliquidated
|:| Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
|:| Yes

Schedule Ein Creditors Who Have Unsecured Ciaims

18~30849

Amount of claim

$352.{)5

$24,624.15

$181,005.46

$2,492.33

page 36

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 52 of 76

Debior Bendco, lnc.

W Additional Page

Copy this page only if more space is needed. Continue numbering the iines sequentially from the
previous page. if no additional NONPR|OR!TY creditors exist, do not fill out or submit this page.

 

3.137 Nonpriority creditor's name and mailing address

 

 

 

United Parcel Service
PO Box 7247-0244

 

 

Phiiadeiphia PA 19170
Date or dates debt was incurred

Last 4 digits of account number

 

3.138 Nonpriority creditor's name and mailing address

 

 

 

Llniversai Forkiift Suppiy LLC
9159 Waiiisviile Rd.

As of the petition filing date, the claim is:

Check atl that apply.
n Contingent

|'_`] Uniiquidated
n Disputed

Basis for the claim:

Case number (if known)

18-30849

 

 

 

 

Houston TX 77029
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.139 Nonpriority creditor's name and mailing address

 

Universai News, inc.
PO Box 227

is the claim subject to offset?

|Z[ No
m Yes

As of the petition filing date, the claim is:

Check alt that apply.
ij Contingeni

L'_] Unliquidated
[:] Disputed

Basis for the claim:

 

 

 

Fischer TX 78623
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.140 Nonpriority creditor's name and mailing address

 

Verizon Wire|ess
PO Box 660108

is the claim subject to offset?

{_‘,Z[ No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
jj Contingeni

m Unliquidated
|:| Disputed

Basis for the claim:

 

 

 

Daiias TX 75266
Date or dates debt was incurred

Last 4 digits of account number

Official Form 206EtF

is the claim subject to offset?

M No
|;f Yes

As of the petition filing date, the claim is:

Chect< all that apply.
m Ccnlingent

[_'_:i Unliquidated
m Disputed

Basis for the claim:

 

is the claim subject to offset?

No
[:] Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$2,657.28

$2,194.57

$850.00

$1,133.85

page 37

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 53 of 76

Debtor Bendco, lnc.

Additionai Page

Case number (if known)

18-30849

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPRiOR|'l'Y creditors exist, do not fill outer submit this page.

 

3.141 Nonpriority creditor's name and mailing address

 

 

 

Waste iiilanagement
PO Box 660345

 

 

Daiias TX 75266
Date or dates debt was incurred

Last 4 digits of account number

 

3.142 Nonpriority creditor's name and mailing address

 

 

 

We Tote 'Em Trucking
8822 liliiie Run Rd

 

 

Humbie TX 77346
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.143 Nonpriority creditor's name and mailing address

 

Wiilard Auto Parts
718 Pasadena Bin

As of the petition filing date, the claim is:

Check ali that apply.
m Contingent

g Unliquidated
g Disputed

Basis for the claim:

 

is the claim subject to offset?

|z[ No
|:| Yes

As of the petition filing date, the claim is:

Checl< all that appiy.
L__| Contlngent

L'_] Unliquidated
[_':] Disputed

Basis for the claim:

 

 

 

Pasadena TX 77506
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.144 Nonpriority creditor's name and mailing address

 

Wisdom Transportation
4141 North Fwy, Ste. 230

 

 

Houston TX 77022
Date or dates debt was incurred

Last 4 digits of account number

Oificia| Form 206EtF

is the ciaim subject to offset?

|Z[ No
m Yes

As of the petition filing date, the claim is:

Checlc all that apply.
jj Contingent

|:[ Uniiquidated
|:| Disputed

Basis for the claim:

 

is the claim subject to offset?

M No
a Yes

As of the petition filing date, the claim is:

Check ali that apply.
m Contingent

[:| Unliquidated
m Disputed

Basis for the claim:

 

is the claim subject to offset?

jz[ No
m Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$252.22

$652.75

$1,050.00

$5,754.60

page 38

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 54 of 76

Debtor Berldco, lnc. Case number (if known} 18~30849

Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the

 

 

 

 

 

 

previous page. if no additional NONPR|OR|TY creditors exist, do not fill outer submit this page. Amount of ciaim
3.145 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $15’379_74
Check all that apply. _
WL Crane Repair [_'_] Contingent
p0 Box 1683 m Ur'lfiquidaled
|'_'i Disputed

 

Basis for the claim:

 

 

 

 

Baytown TX 77522

Date or dates debt was lncurred 35 the Ciaim Sl-lbject €0 OffSef?
M No

Last 4 digits of account number m m m m n Yes

 

Officiaf Form ZOGE/F Schedule ElF: Creditors Who Have Unsecured Claims page 39

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 55 of 76

Debtor Bendco, lnc.

Case number (if known)

List Others to Be Notified About Unsecured Claims

4.

4.1

4.2

4.3

4.4

4.5

4.6

Ofticiai Form 206EtF

1 8-30849

List in alphabetical order any others who must be notified for claims listed in Parts 'l and 2. Exampies of entities that may be
listed are collection agencies, assignees of cfaims listed above, and attorneys for unsecured creditorsl

|f no others need to be notified fertile debts iisted in Parts 1 and 2, do not fiii outer submit this page. lf additional pages

are needed, copy the next page.

Name and mailing address

Brent W. Nlartinei|i
Quintairos, Prieto, Wood & Boyer
1700 Pacific, Ste. 4545

 

Daiias T)( 75201

Brian Schrumpf
The Fuentes Firm PC
5507 Louetta Road, Ste. A

 

Spring TX 77379

Christopher L. Janak
11 Regency Row Drive

 

 

San Antonio TX 78248

Daniei J. Go|dberg
2006 Commonweaith St.

 

 

Houston TX 77006

Dexter D. Joyner
4701 Preston Rd.

 

 

Pasadena TX 77505

Giddens & Burns
3009 Strawberry Rd

 

 

Pasadena TX 77502

On which line in Part1 or Part 2 is the

related creditor (if any) ilsted?

Line 3.135
[3 Notiisted. Exp|ain:

Line

[J Not|istec|_ Exp|ain:
Notice On|y

Line 3.36

g Not listed. Expiain:

Line 3.95
[:] Noiiisted. E><p|ain:

Line 2_3
[”_'} Noi|isted. Exp|ain.'

Line 3.45
ij Not|isted. Expiain:

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of
account number,

if any

page 40

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 56 of 76

Debtor BerldCO, |nC. Case number (it known} 18-30849

m Additional Page for Others to Be Notified About Unsecured Claims

 

Narne and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) iisted? account number,
if any
4.7 J. Javier Anziani Line 3~33 ___ __ _ _
Freedman & Pl‘lce, PC m NO{ listed Exp;ain;

 

1102 West Ave., Ste. 200

 

 

 

 

 

 

 

 

 

Austin TX 78701

4.8 .J. Patrick Coulson, Attorney At Law Line M?_»m.gm§m _ _ _ ___“
PO BOX 262683 n Not Eisfed. Exp|ain¢
Houston TX 77207~2683

4.9 Jennifer G. Biack, Esq. Line 3.85 _ _ _a _......
JGBLAW, P.C. g Notlistec|. Explain:

3262 Westheimer, Ste. 651

 

 

 

Houston TX 77098
4.10 John K. Dubiel, Jr. line 3.72 _ __ w ......
Bristol&Dubieii_LP m Notlisted_ Exp|ain;

 

10440 N. Central Expy, Ste 800

 

 

 

Daiias TX 75231
4.11 Kara Kimbie Line 3,124 m m m _
A|tus G|obal Trade So|utions g Not listed Exp|a§n:

 

2400 Veterans Blvd Ste. 300

 

 

 

 

 

 

 

 

 

Kenner LA 70062

4.12 Kristine NicKitrick, Esq. Line 3_134 m _ _ _
6046 FNl 2920 #425 g Net listed Explain:
Spring TX 77379

4-‘|3 lVlarc l_. E|iison Line 3.80 _ __ ___ ___
TOfZ ElliSOi'l & TOfZ, P.C. m Net listed Explain;

2211 Norfolk, Ste. 510

 

Houston TX 77098

Officia| Form 206EIF Schedule EtF: Creditors Who Have Unsecured Claims page 41

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 57 of 76

Debtor Bencfco, lnc. Case number (if known) 18~30849

Additional Page for Gthers to Be Notified About Unsecured Claims

 

Narne and maiiing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) |isted? account number,
if any
4-14 Nlichae| A, l-iirsch Line 3.76 _ __* m w
Schianger Siiver Barg & Paine g Net listed Exp|ain;

 

109 North Post Oak Lr\, Ste 300

 

 

 

 

 

Houston TX 77024
4-15 Nlisty Gasiorowski Line 3_129 ____ _______ _____M_ m
Wevcer,i<aplan efal- g Nonrsiee. sxplarn:

11 Greenway Plaza, Ste. 1400

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Houston TX 77046

4.16 Phillip Yates Line 3_72 m _,__,__ m .,___.
1691 |Vlichigan Ave., Ste. 230 E Nog;iszed_ Exp:ain;
Niiami Beach FL 33139

4.17 Pierce Nl. Adkins Line 3-59 ....._. m ,___ _
703 Teiephone Road [3 Not listed. Exp|ain:
Houston TX 77023

4.18 Terri S. Morgan Line 3.64 _ _ _ ___
Rapp & Krock g Not listed. Explain:
1980 Post Oak B|vd., Ste. 1200
Houston TX 77056

4.19 Vitai Recovery Services, LLC Line 3_26 _ _ ___ ___
PO BOX 923747 |:| Not |isted. Exp|ain:
Peachtree Corners GA 30010-3748

4.20 Wii|iam T. Peckham, Esq. Line& ___ ___ _ _
1104 Nueces St., Ste. 104 m Nof ;is¢@d_ Exp:ain:
Austin TX 78701-2106

Officia| Form 206E!F Schedule ElF: Creditors Who Have Unsecured Claims page 42

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 58 of 76

Debior BerldCO, lnc. Case number (if known) 18-30849
Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

 

 

 

 

53. Total claims from Part 1 53. $122,759.44

5b. Total claims from Part 2 5b. + $1,562!201.89

Sc. Total of Parts 1 and 2 56. $1,684!961.33
Lines 5a + 5b = 5c.

 

 

Oificial Form ZOGEIF Schedufe Eth Creditors Who Have Unsecured Claims page 43

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 59 of 76

Fiii in this information to identify the case:

Debtor name Bendco, lnc.

Uniteci States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF TEXAS

 

 

Case number 18~30849 Chapter 11 g Check if this is an
(if known) amended filing

 

Otficiai Form 2066
Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible. |f more space is needed, copy and attach the additionai page, numbering the entries
consecutive|y.

1. Does the debtor have any executory contracts or unexpired |eases?

[:I No. Check this box and tile this form with the court with the debtor's other schedulesl There is nothing eise to report on this form.
M Yes. Fill in atl of the information below even if the contracts or leases are listed on Schedule A/B.‘ Assets - Real and Personathperty
(Oificia| Form 206AlB).

2_ List ali contracts and unexpired leases State the name and mailing address for ali other
parties with whom the debtor has an executory
contract or unexpired lease

 

 

2.1 State what the contract Lease: 801 Houston Ave Properties
Or lease is forand the 4.8567 Acres, 3 high bay buildings 801 Houston Avenue
nature Of the debtor'$ Contract to be ASSUMED
interest

 

 

State the term remaining

 

 

List the contract
number of any
government contract

Houston TX 77502

 

2.2 State Wth the contract Services agreement Comcast

or iease is for and the
nature of the debtor's PO Box 660618

interest

 

 

State the term remaining

 

 

List the contract
number of any
government contract

Daiias TX 75265

 

2_3 state what the contract Copier lease Konica Nlinoita

or lease is for and the 21146 Network Place
nature of the debtor's

interest

 

 

State the term remaining

 

 

List the contra t .
number of anyc Ch|¢ag° iL 60673
government contract

 

2.4 State what the contract lT Services agreement Omnipotech LTD

or iease is for and the -
nature of the debtor's 11422A Craighead Dr

interest

 

 

State the term remaining

 

 

List the contract
number of any
government contract

Houston TX 77025

 

Ofticiai Form 2066 Schedule G: Executory Contracts and Unexpired Leases page 1

 

 

Debtor

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 60 of 76

Bendco, lnc.

Case number (if known) 18-30849

- Additionai Page if Debtor Has iVlore Executory Contracts or Unexpired Leases

2.5

2.6

Copy this page only if more space is needed. Continue numbering the fines sequentialiy from the previous page.

State what the contract
or lease is for and the
nature of the debtor's
interest

State the term remaining

List the contract
number of any
government contract

State what the contract
or iease is for and the
nature of the debtor's
interest

State the term remaining

List the contract
number of any
government contract

Officiai Form 206(3

List ali contracts and unexpired leases

Postage machine iease

Contract to be REJECTED

 

 

Cellular phones

 

 

State the name and mailing address for ali other
parties with whom the debtor has an executory
contractor unexpired iease

Pitney Bowes Global Financiai

 

 

 

 

 

 

 

 

 

 

PO Box 371887

Pittsburgh PA 15250-7887
Verizon Wireless

PO Box 660108

Daiias TX 75266

 

Schedule G: Executory Contracts and unexpired Leases page 2

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 61 of 76

 

Fili in this information to identify the case:

Debtor name Bel'idco, lnc.

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF TEXAS

Case number 18-30849 I:I Chec|< it this is an
(it known) amended liling

 

Ofticial Form 206H
Schedule H: Codebtors 12115

Be as complete and accurate as possib|e. lt more space is needed, copy the Additional Page, numbering the entries
consecutively Attach the Additional Page to this page.

 

1. Does the debtor have any codebtors?
l___| No. Check this box and submit this form to the court with the debtor's other schedules Nothing eise needs to be reported on this form.

121 Yes

2. ln Coiumn 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
schedules of creditors, Schedules D-G. include ali guarantors and co-obtigors. ln Coiumn 2l identify the creditor to whom the debt is
owed and each schedule on which the creditor is listed. if the codebtor is liable on a debt to more than one creditor, iisf each creditor
separately in Coiumn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

Check all schedules
Name Mai|ing address Name that apply:
2-1 301 Houston Ave 801 Houston Avenue Bank of America, N.A. M D
Property LLC Number street m E,,F
L'_] G
Pasadena TX 77502
City State ZlP Code
2.2 801 Houston Ave 801 Houston Avenue Banl< of America, N.A. }Z{ D
Property LLC Numb@r street g E/F
g G
Pasadena T)( 77502
City State ZIP Code
2-3 Jame$ A- Fl'iel'y, Sr. 601 Enterprise Ave. #311 Bank of America, N.A. |21 D
Number Slreel m E!F
|:| G
League City TX 77573
City State ZlP Code
2-4 Jame$ A- Fi‘i€ry. Sr. 601 Enterprise Ave. #311 _ Bank of America, N.A. |Q' D
Number Street m E/F
5 G
League City TX 77573
City State Z|P Code

Officia| Form 206l-l Schedule H: Codehtors page 1

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 62 of 76

Debtor Bendco, lnc. Case number (if known) 18-30849

- Additional Page if Debtor Has More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 
   

Check all schedules

 

 

 

 

 

 

 

 

Name Mailing address Name that apply:
2-5 Ricky F- Friery 24071ncrepid Way sank orAmerica, N.A. |z[ D
Number Street |:i E/F
E G
League City TX 77573
City State ZlP Code
2-6 Rickv F- Friery 2371lndigo Harborl_an@ sank ofAmerica,N.A. g D
Number Street g E/F
|:i G
League City TX 77573
City State ZlP Code

 

Official Form 206|-€ Schedule H: Codebtors page 2

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 63 of 76

 

Fill in this information to identify the case:

Debtor Name Bendco, lnc.

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF TEXAS

Case number (if known): 13"30349 |:f Check if this is an
amended filing

 

Officia| Form 2063um
Summary of Assets and Liabilities for dion-individuals 12!15

Summary of Assets

‘l. Schedule A/B: Assets--Real and Personal Property(Officiat Form 206AIB)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1a Rea| property:
Copy line 88 from Schedufe A/B $0'00
'Eb. Total personal property:
copy line 91A from senedu:e A/e ___$;‘EW
1c. Total of atl property
Copy line 92 from Schedule A.'B _M
m Summary of Liabifities
2. Schedule D: Creditors Who Have Claims Secured by Property (Ofi'icial Forrn 206D)
Copy the total dollar amount listed in Coiumn A, Amount of ciaim. from line 3 of Schedule D Mmg..
3. Schedule E/F: Creditors Who Have Unsecured Claims (Officia| Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total ciaims from Part 1 from line 5a of Scheduie EIF M
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total cf the amount of ctaims from Part 2 from line 5b of Schedule EIF + w
4. Total tiabilities
Lines 2 + 3a + 3b M

 

 

 

Ofticial Form 2068um Summary of Assets and Liabi|ities for Non-|ndividuals page 1

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 64 of 76

DebiorNonte Bendco, lnc.
Uniied States Bankmptoy Court for the: SOUTHERN O|STRIGT OF TEXAS

 

Case number 18»30849
(if known)

O_Eic!ai Form 20;

Deciaration Under Penaity of Perjury for dion-individual Debtors

12115

An individual who la authorized to acton behalf of a non-lndividuai debtor, such as a corporation or partnershlp, must sign and
submitth|s form far lite schedules of assets and liabilitiesl any other document thatrequires a declaration that is not included
in the dooumant, and any amendments ofiiiose documents Thie form must state tim individuals position or relationsan to
the denton the identity ortho document and the dnie. Bonkruptoy noise 1003 and 8011.

WARN|NG ~ Bankruptcy fraud is a serious ortrno. Mal¢lng o false statemonl, concealing property, maintaining money or
property by fraud in connection with a bankruptcy case can result in lines up to $500,000 or lmprieonmnntfor up to 20 years. or

bolin 18 U.S.C. §§ 152,1341,1519, and 3671.

 

 

n Deciaration and signature

l am the prasldent, anotheroiitcer, or an authorized agent cf the corporation; a member or an authorized agent of the partnerships
or another individual serving as a representative of the debtor tn this cese.

l have examined the information in the documents checked below and l have a reasonable boiler that the information is true and
correct

m Schedule A/B: Asseis»~Reai and Parsonsi Property (Ofticlal Form ZUSNB)

Scheduie D: Creditors Who Have Claims Secured by Property {Ofiioiai Form 2060)
Schedu!e E/F: Creditors Who Ha va Unsecured Claims (Oiiicta| Form 206EIF}
Schedqu G.' Execuiory Contracts and Unexpired Leases (Otflcia| Form ZOEG)
Schedule H.' Codsblors (Oiiiciai Form ZOSH}

A Summary of Assets and Llabilliles for Non-inn'lviduais (Oiilciui Form 206~Summary)

remanded Scheduta _

Chapter 11 or Ghepfor 9 Oases.' List of Creditors Who Have the 20 largest Unsecured Claims andAre Nof insiders
(Oitloiai Form 204)

 

Cll:|l§iEiEil§iEf

[] other document that requires a decisraiion

 

 

t declare under penalty of perjury that lim foregoing is lru nd-¢orrect:*““_‘
E)iecutad on O§ f § ¢?:r>l &`-* ,. _..._»---.

umroorrwv M signature und:r:€ueleignngé'@egerrgtdest?r”

   

Joim Tharp
Prinied name

Presldeni
Pooltion or relationship to debtor

Ofticlsl Form 5202 Dsniaration tinder Fenalty of Per|ury for Non~|ndlvitiuai Debtora

 

 

 

 

 

 

 

Case 18-30849 Document 14 Filed in TXSB on 03/15/18 Page 65 of 76

.M._-_sm?._ m N£_u_<_

>W >mm:m

memo ._ 04 m

 

 

 

 

 

 

 

 

 

 

 

mszOO_ _zO >m__._@ >m On N`..~m_\woom u< _:<omom Om$
._.<_um dooE.:m:.__. O.._m»o:._m_. mo Uoo Um`nm Ucm _um»m _um<m O_uon o - mo u‘_ - ma m,_ - mo O<m_. mo ._,o»u_ dam
> an > > mv .P _<_>OI_Zm. _ZO. OU:HQn Nm»¢ommh owe UJH TES mmmLNM$
Hm:.:mu Zm._. wm whqu 309 meswmmm
_z< mmNmm L@omw ._m.._nmdk_m t_m._$m?.Mm gm w.rwmo.oo mM_Nmo.oo
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.Z< mmmmm AQNON N@.._nmv...um wo-?__m?._m 0 w._ _moo.oo w.__m.mo.co
Ocm"o§m~ ..m.o~m_mu mm_mmc.oo Qm“mmo.oo
>Om<< >D._. Om..>mm m< S__mr_..m Oo:»mo.n EN _<m__¢rmm __u:n jm.\\wm-wm.@m
._.mw:»mm~ 0.0.U. _umx~ §whw._..ommm
_Z< mmowm OOU ._w..Zo<L.w .M..w»Zo<\.M¢`. ._od mmmm.oo mmmm.oo
053qu ‘_.RQ_N mm..~m.oo wmwm.oo
>_Bm<< >Wm> =NOZ .W m._.mm_r <<O_..~Xm Oos§o.n _quD mU?__OZmHOZ _u_.x @._mv mum..mhmh
HQB._H moon G._S mmm.._m§
OO> m._mmmmmm wor..Enk_.w woLc_.T._w NLm Amwwm.oov hmwmm.o£
Ocm»o§m~ ._.o»m_mu hmwmm.n£ @.e..mm.oov
bvm_ >O<.mz._._.__mm vr.><mDOCZ_u w<w.._._m__<_mq _20. Oo:_"mo# OID_m.m>z OO_NUm_»O mu§ w._w-@wm..ommh
._.m_._.:mu Zm._. mo 1me H.E.me.wmww
WZ< mmNmo .Eomh m#¢,nmu.._ m M®¢_<mm?.mm d mm.cmo.oo mm.omo.oc
O_._m»o_.:mw Ho»m_mn wwbmo.oo mw.omo.oo
mm.m mm,m ImmOCWOmm r.__._u. Oo:»mo# >CmNm< mw_mmZU_Z_m U_._.. oomimmh\wmmm
._.mm_.:m~ Zm._» mo women hom..mmh\wmmo
_2< mmmom om,m m._wOOo._ d m._..N mc..,wm:...mm 0._1_<_m?._m wm mwmo.oo wmmc.oo
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W>~SO_ W><.~.Oc<z >Om S>OI. OO. mZC Oo:»mon OIN_m U:H ¢o.m.c hm~_.¢mmm@
_._..O~_..:w~ Zm.m. mo _umvn Nm.T_.Nwaol.~
_Z< mmmw@ £wmw omlmmw..._m .mc..§m_._.t_m No mmoo.oo mmoo.oo
_Z< mmmma hhwmw om¢mmdl._m ._o.§m?._m we mmwo.an_ Mmmo.oo
OcmH_._._mq Ho”m_mn mmmn.no wmmo.oo
m_<= m><_uOW._. _s>OI-Zm _ZO. ngaan _¢_mwO< _u$" ANm.J eajamb
Hm:.:m.. zm._. wo men ANm.C »..w._-._qwm._
_z< m#m.mm ._.....mwi ._N¢?__m<.._.w ._._J_c:¢._.w umw wm#o.oo wmju.oo
n¢m~on._oq ._.oB_M mm.B.oo mm#o.oa
OIm< OIm<WOZ v_.:_.._..=um Oo:_"won >OOOCZ._.m U><>mrm win Q\_mv humlmu$m
._.w:.:wn ZmA. mo _umxn QL_ mw L..wm..wNmN
_2< mmm,_m Lmomi`.o._._:_."m m._...._m:.._ m QN.?__mT\_m wm mmmo.oo mwmo.oo
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.H.mw§m" Zm.m. mo mm.x~ swimmoi._ haw
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At£achment to Schedule AJ'B No. 11

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O_.BHBH ._.o~w_mn mm,_w.mo mmG..mo
o.=.__.< n_mz:§_l ._.mx>m _moz Eomzm seaman o>m_.mzm ven nme diego
.Hm=.§mu Zm._. mo _umX.. ANm£ H_i._~®\mwhh.
_z< mmNmM mwwm Nm.._umULm wc..?__m?._m o mmw.m,oo mmwm.oo
Ocm»o§m~ ._\o*m_wu wmwm.oa mmwm.oo
Umm.x Ummm~ _u>_mz OOZM._._NCO.H_OZ Oo:»mon O>DM.Om m_¢_N>_¢U_m _an ANm\_W mwm-oomo
.W.O_._.:mu 0.0.U. _um.XH ANmL; mwmaOD,_._.N
MZ< mmmmo ._._.`...wmh.w..omm mm.._um_uh_m Nm._um_u.d m o mi._._whm.oo mu_wbm.oo
ccm»o_._._mq Ho§_mn m,.~_§m.ao m.»_wem.ac
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._\m§w~ N£ ._o Zm» mo Kmx~ mwm..wmm.._ ucc
_2< mmmmo .._._mmm Awl_umvl._m m._l_sm_.¢`mm m mw.NDo.oo mw.woo.cc
Ocm»o_.:m_. ._.on_mn mw.woc.co mw.woo.oo
mz<>m mz<.PMOO Oo:»mod wImZU>._OIszZ 3d jw..mdw..l_~mmm
._.m_.._.§m" Zm.w wo T.qu N.._ mlm.wwldmmm
_Z< mem.__‘ hmhmm> ominm?.._ m L_._..?_Mm_?.mm .Mm M.m_Nmo.oo md _Nmo.oo
Oco»o_.:m_. ._.o»m_m“ § _Nmn.no § _mmo.oo
mxx_s mxxoz_som_r ceaan >o>_,__ m. mmz:»< oz
Hm§m~ zm._, wo moon
_Z< mmomw Amm._ mgme ._Q-Omn\_u t_NJ.Mm:-.mm d whwm.oo mhwm.oo
920ng .ES_M womm.oo womm.oo
TPMH _u>m§m_wm >_..FOK J>m.._ZO. Oo_.§mon mOmm< O. U_,: acm..wmm..mmm._
._.m_.Bmu z_m._. mo _umvn mmm-mo."-owoo
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955qu Ho$_mn m.m._~.mcg.oo wl_ Nmoo.ao
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ncm"o:._mw ._.o»mmm~ mmoo.oo wmon.oo
_...m_»OCm mmJQCmOZ _n_xm me TPW HZO. Oo:»mod >OOOCZ._..m _u><>mrm _u_.: Q._ 3 mwm..momw
,_\m§m“ moon Q._B mwm.mwmo
OO> mhmmhwmm ._m..._m:\._# .M@J._m:.._v how Ammmo.o§ @mmo.oov
056qu Ho»m_mn Gmwo.oov hammo.o$
Iumm _uzwm _uO<<m_~ mO=rm_» mmWSOmm. 510 Oo:~mo`n ._.O_<_ m._.>ZmeD< _u:.. .w.mm¢mm._lwmoo
dimmij mmvn H.m mlmM.Tmmt_.M
OO> mwmommm._ oml_<_m_.l\_w omi?__m?t_..~ mmm Ammm.hov ~mmm.bow
0_,._303._®_. Ho»m_wu hmmm.£..c @mm.£.d

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t_t_.._,._“m?._m mugn_<w
wszOO. _20

>w >m_:m

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mZ< memo@ _u_¢O_u>mOw om...:._:kmw ow..>cm¢._N Nmm mwmo.oo wmmo.oo
Ocm»oBm~ ._.onm_m.. wmmo.oo @wmo.oo
mmm_ mmUmW>-.. w._lmm_.. mr:uv_..<e _ZG Ooz»mon moolmmmldmmh _uJH Aw,_£ ww¢\iww@m
..M.m§wu Zm._' wD _HDXH AM.K.U mw\_..lm»wmm
_2< mwNNw unwth O,w..~nmU...mm QO.._<MNTS MM Mmhm.oo mNho.cm
woodaqu Ho»m_m~ wweo.oo mwho.oo
§ “Jmm_uOW._. Em_¢U_ZG. »ZO. Oo:HmQM ~POOOCZ.EZO OmmuM. vva 3me Nwo-w._?_m
donee zm._. mo moon §§ Nwm.ow»@
_Z< mm._mN .._GK.._ m»a.o.d NM Nw\.._m:k_m NNLumUl»m mm mmoo.oo wmoo.oo
_Z< mmNmN ._o._hmml._ NNNOO om¢mm~o.._m ._o-?__m_....wm No $,__moobo m._ _moo.oo
OEwHO_..DQ. ..M\D.~N_mu $t_ _wD0.00 MwO0.00 mN_wOO.DO
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Hm_._.:mn zm.m. mo mmx~
_Z< m.sm.wm Qb,r<om owoooooo@._ m No-OQT,_ w dwrZo<»._H .._m._ mm.moo.oo wm_woo.oo
O_._w~o_.:m~ ._.o»m_mu mm,moo.oo mw_moo.oo
Om_..._ O>SZ w.._.mm_r T>WN_O_>H_ZOM Ou:»mon >U>?__ _SOD..P_¢mm worn AN._ 3 mwmlmmwm
._.m:..n% mem ._O Zm» mo me~ Amt_ 9 mmwlm.wt_.a
_Z< mm.:_‘m wwmm ._m)._m:...~m .mm.._nmU..._m ha Wh_.mmm.oo mA.._mm.oo
Ocm~o§mq ._.o»m_mn ah“._wm.oo mo.‘_mm.on
QS_=S O_..mm.>._\ <<mm._.mTZ _<=m._.>_..w OOJ»NG# G>IOF ,._me U:.. ANw.C LmA\._._mo
.“.m§m.. Zm.._. wo _um.un §me Lm%..wm.wb
_Z< mhme_..._ mr_~.m.h.om NL\>:@¢._N lewm_uld% \_mm prca memo.oo
O:m*o§mq Honm_mu woma.oo momo.oo
IF._._u I><mw _zUCw._.$_mm _¢.._m.._u. Oo$»mnn _u:~
._\m~.=..m~ Zm._. mo _umX..
NZ< mmNNm momd ol._.im.mdl._m owi?__m?.._m M..~ mNNm.oo mNNm.oo
Ocm,o_._._Q Ho»o_o~ mwwm.oo mwwm.oo
IDCm IOCWHOZ _N_Px.. mh Ooodmn`n _<_=Am _u:n
._¢m:._._mu Zm._. mo men
_Z< mmNmm Nm..mmuim mo..?`_m_...t_m 0 m.FOMm.co mm.owm.oo
Ocm»o:._@. ._.o»m"mu mM.on.oo w.M.on.oo
IMO I=NMOT=HMFU wHMm_r OO__S_u.PZ< OO:»BQ~.. demch U_._.. mw®lN..._,:_rmNNh
lHm:jm.. mm\o dol Zm~. mo _umvn mmm\Nw.meAm
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_._wO _.=Nmnim_m_rc m._._m_mml OO_ST..>Z< OO:»mon .wmmom _u_..n wmmlmjlwmmh
.m.m:.:mn memo ._o¢ Z_m.w mo _umvn wmmlm.w._lmw._m
_Z< mmmmm .._hmmcm N._.._um_u..._m Nm..._<_m?dm ..» mauomm.co wh.o©m.oo
_Z< mmmmm ,._L@mom NN»Tm_uh_m Nhr?__m?t_m m Whoomm.©o wh_omm.oo
_Z< mmwmm .._hmmom N@l_nm_u¢._m wo¢_<_m_.k_w o wm_.._wo.co wm_t_mo..ua
_Z<. mmNm\_ ¢_A.mmom Nm¢_umv¢._m mo-_<_m?‘_m 0 GPDQ0.00 mhboo.on
Ocm§:me .H,o$_w~ mmw“wmo.oo www_@mo.co
=nOO _ZUCm._\N_>-.. M>W 01 knoxvme 003an OOU< _u_H hwm¢ Mmm-omo._
§§e § 3- zme mo men §§ wmm-m$m
mZ< mmwmm ._\wmmmm NN.._um_u..._m NL..._<_m_...._m m W._.OQ0.00 W._ _ooo.oo
Ocm»o_.:m~ ._.owm_m~ m._ .ooo.oo w._boo.oo
Lm_u .._.m._u. TPWN_O>.EOZ. _ZO. OO:HmnH ._>§mm _nmIIFm _u_..." Nm._lw.md~womm
dimiij Ae\n m U>J\m TNXH Nm._lmmr_~lwmmm
“Z< mmN._m Im_numoolmmwm wt_-._m:k_m m._l._m:l._m wm Mm“._oobo wm.t_Oo.Oo
0563¢~ Ho$_mu mm;oo.oo wm..€o.oo
LOT ._OIZ OI..PZH TNO..”mO.Hm OO:»mQ_".. .._OIZ ®I.PZ._. _u_.¢ 303 mm.mlMNm._
HO:.:M.. mmo\o_UO/>_.Zt mD@\oOOU TNX..
~Z< mmNco le,_m_._»._m Nw..,_m:»t_w mo mmhmm.um mm_.wmm....\m
OCM»DJ.“Q Ho$_mu mw.¢`.mm.Hm mw_Nmm.Hm
_AOOI..W“ XOQI IMDA. HI>ZMMm-N GO. _Lu Oo:"mon >_<=mmI> _rm<<mm _uju Q._ 3 me\mmwm
.M.m_._.:mu Zm._. mo _ume G?_ mv me;m¢__‘o._
_Z< mm._oh `§.mmm,w ._mleoL.w .I¢Lm:\__m um Mmmo..uo wmmo.ou
Ocm»ou.mmw. ._.o»m_mu wmmo.oo mmmo.oo
_A<<U_$_ __A<<U _,___.PZr__.¢..PO._\F_=»~Z,...»m mZO. 003an §MIM_N_ZM _<mmZOI>O> _uw._~ AN._ 3 mNL\m©m@
HO_»_.§Q" Zm.~. mo T.NXU AN._S mNA\m.wmm
_2< mm._._qm mcw@._ ._w..¢m:..._m .“®Lumdhm ha mN.Nuo.oo wN.Noo.oo
camdequ ._.o»m_mu mm_moo.oo wm‘moo.oo
_...Pm _LPUm-¢_rmOO TPWD_O.P.ZOZ OO:,HQF OI_N_m <<>_l_u DCU _uw._u hom..NNmamme
._.m_._.:w~ mmx"
OO> Mwmm._ m¢`.m mM.On»-._m N.._.rOnT._m pmm hmh.mwm.oe mmb.mwm.oe
ncm»oBow ,_.o»mwu Amo.mwm.a£ Gh.$.m.oe
_r_ FOQ>Z mZUCM.-.W=mm _Z._.mmz>._._OZ.P_r. _ZO. Oo:»mn# >OOOCZ._.U U.P/w>mrm _urn H._ wlwhmlmmmm
.._.m_.:..m~ Zm._. mo vuwa .w._ wamh.m..wmmm
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l_.m_._._._mn Zm..m. mo mumxn 303 mm@lm._..ww
_Z< mm._ Nm .._N~_.momm NN¢Omo.._H MTLN_.T.MU mm wmmc.oo wmmo.ao
Gcm"oBo~ ._.Rm_m~ ammo.oo mmmg.oo
§§ _s>x__s m__.mzommm_ _zo. conoco >_.>z ormzumzmz § §§ mmro@mo
,_.m_.§w.. _umxu nwme mmb\ommo
oo> NNS.`.@& 1333 1333 § BMNP§ @~»m.oe
negoqu ._.Rm_mn WNMQ.QS @Nwm.oov
__$mg gcm_..rm_» mZSNOZ§-mz._.>r _...t=mm=.w_..._mq mZO. Ooamon ICOO D>mer worn N._ whmm.o@mm
._.md.mm~ UCm CmuOZ ImO_m__u _nmcn
_Z< mmNL.H N._.wm.wwl__ ._mmo t_m._nmU.._m ._m-_umwr.._m ._m wmmo.oo wmmo.oo
05332 ._.o$_w~ mmmo.oo mmmo.oo
_Sm_uOO _SMTOO_ MZO. Oos»mn# O>mm__m_r ._>mwO _uj… Q.§ mam..@who
._.m:._._m~ Zm._. mo van Q:m 3 OA®..Qomo
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._\w=.:wu Zm._. wo mm.X.. hwm._v mw._et_ .I.h
_Z< mmwhm .Mmoo ._ml_umv..._m .mwl?._mwk_m 4a ww,mmo.oo mm_mmo.on_
Or_mwo_..:mw ._\O»m_mu QN.mmO.Go $N.mmn,.om
E_<mmx _S<m~_mx _ZUCM._..I=mmv _20. Ooa$nd mOm mON_m _u:~ ®wN..Ame.mmm
donee zm._. mo moon Q._S m@._.wwmm
HZ< mmNm._ ._._.Wm@-cooo._o ,_ml_umv'._m. .._w-?__m_\¢‘_m t_m wr_.moo.co m._ .moo.co
Ocm»o§m~ ._.o`hm_mu m._.woo.oo @`_.moo.oo
Z>H mI>_u Z>.._._OZ>F Omr<<m_rv <>WOO Oo:"mn# >Z _u< ._._"~C.:_._.O win Ammmv ANL\Q._ mm
M.m::m~ web ._o. zm._. mo _umxu
mZ< mmN._.`m mmmmomno mwa_umdi._m le?__m?.mm m mm_mmo.oo mm.@mo.oo
0¢&03@_, .M.o~m_w" mm_mmo.oo mm.@mo.oo
ZO_ 20_ WC__..U_ZO m<.w._\m_sm _Lu Oo:$n_..n OI>D_¢mm _»__¢m< _u_..n ANm.: mw¢\¢dmm
,_.m§m zm. mo noon §§ mem-».`.£
_Z< mmwom moocomhomw m\_.Lm:..._m QN.._SWT.E wm mw..wm.oc mm.wm.oo
_Z< mmNAO moooo.mht_ .3__ mdLm_.T._m DN.._<MmT.mm wm mwu~m.oo mm.....m.oo
_2< mmwom mccoomh.wm.~ t_m.mu@dld m ._H»_<mm?.mm .Mw wmwm.oo mm#m.co
_2<. mmmmc mccoomhwdm ._m..vmu...wm l_...1.._,.__“mw..._m .mw mwwm.oo wm.wm.oo
Ocm»o§m= ._.o»m_mn m._ .moo.oo wt_ _moo.oo
ZEUT ZC__S_mN_G>_r _ummO“m-OZ. _ZO. Oon»mn.n m_r>~_nm §_Hm mij ANm.C wmm..l_~mbw
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ZC_uI ZC§mN-O.P_l U_NNOB_OZ. HZO. OO:»NQ".. mml>_.nm <<IM.._.m _u_._.. hwm.$ mmml.__nwh.m
._.m§w" _...mvn Bm.: Qmm.§ma
OO> mbmmmn.dw om..,w_.__§_.w cm.....__..__\._..v NMH AMm.No._ bow @m.NoA.DS
MZ< mmowh Nwommmw.o\_ ._w»Zo<.L_H .ElUQO.._M ._.H_1 md .Ooo.co $._ _ooo.oo
Ocm~o§m". ._..o»m_m.. GNNE .oS BN.NE.QB
o>x Q>xvm< m._.mmr _...mocco._.m oo. 933 mo mmm< § §§ wthmg
._\m=dm~ 0.0._u. _umvn Qomu mh.hl\_~mmm
~Z< mmwd .Q»wwmmm..nw Nm.._umw....mm Mm..~um_u..._m w m.__..voo.co wl_.doo.co
_Z< mmmdm .mm\mwmom-om Nm.."um_?..nm N®.._nmd..\_ m N m._.wco.oo w\_.moo.oo
938qu ._.odm_wn mw_moo.oo wm.moo.oo
_uw¢<< _u W S__ DC>F_H< Z_>OI_ZN OO:HNQH m=lw.< ._.IO?_>U _u_..m AONB Nmm\mmm._
Hm§m men §§ dorij
00> SBSK B.mmu.i G.mmw.i 43 Qmwm.§ @Sm.§
Ocm»o§m_. ._.o.~m_m" Awmwm.oov hwmmm.o$
_um v=umZO mr mBC_U-<_mz_._. GONI. OO:»mnn ~PZOmW._O.P _NOGI> _v$" .\`_ mumh#.wwmw
Hm_._.:m~ Tm.XH wwm..wwmlwhwo
00> 3333 \B.§m<.& 3.§<.$ 3m 653va @N$.§
956qu Mo~m_wn Gmmm.§ Bmmm.§
Tm_<_ Tm_<_QO-Z><>_.. mZO.<<O-N_Am mZO Oo:$on ,._>mOZ UIO>UCM _uvu ANNE .__.mm..wcm._
._.m§mn Zm.m. mo mmx~ 3va .._.mm-mmmo
_z< mmth ,:N..O._m._...__ ._m.._.hm.v..._m ._H.._<_m?.mm ._w W.__._N0.0Q w\_ _\_Mo.co
O_._m»o§m_. .m.o»m_mu m.__._wo.oo @A;mo.oo
T= 1bw.>-_2._.m_»w.~.>._.m~ _ZO. Oo_._.~mon .PU>_<_ _LPZU_M/\ UFH ANN¢I.QO..._.mom
._.m:dm“ Zm.w mo 199 ANNmVLmO..Dmmm
_Z< mmNL.N NN._ o\_ wl_$ om.._umv..._ m d ._1?__m1.._ m .“m mmwo.oo Mmmo.oo
055qu Hodm_mn mmmo.oo wmmo.oo
UO<<.m “uO<<mW _S>O_._mz_mmm<. _ZO. Oo:dmnn U_N>ZMA ?__ODO>Z mix w.._wk_.mwlw`_.__.m
._.m:.:mn Zm.w wo _umxh H.._mlhmmlh.om%
_Z< mmow.w mwdmmmo `_o-Zo<»._d MO\Umn.\.._H .._.wo mmco.no wmoo.cc
ch"ogm~ ._»Rm_wu mmoo.mo wmoo.ma
vxoooz gomez nozw.~.mco._._oz no. nassau mo<om _._. mm_u § §§ w,_~m.mm»m
332 o.o.u. nwa mms wd.mm£
_7_< mmNH.m OOG Nws~nm_u..._m Nwamww...._ m m mmq_‘m.mm ww..~m.mm
Ocm§dm_. ._.o$_wu ww¢__.m.mm mmwm.mm
vmo_s_ vam._.>_» us>zcnbo.w.:m_zm mzo 003me P m_<>m _u:u j w..Nh?mwm._
._.m~§m~ 0.0.U. _...mxn
_Z< mmwa 000 Nm..mmuk_m Mm-mnmdl._m o mN“m.MN.mh mN.md w.mh

 

 

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,_.T?__m?._m N£mum<_ >D >mm:m Ummm w 9a m
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drum Uooc.....m:» nam»o.dm~ vO _uoo UQ`B U.._m Um$ Um<m Onm: o - mo w._ -mo mg - mo O<mu mo Ho»m* Ucm
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_umm_ _u>C<mm_~ m._.mmr mc_u~u_.._mm mzo 003an .Pz®mr 0>_¢<>2 _u:.. nwme mmm..m$w
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_z< mmwt_w mw#o..._ w._)._mn.._m oml_sm?,§ mm wm._ o.oo wm._ cba
_z< mmwmm 335 ._m¢mmv.._m .mm\§m?`~m ._N mo_mmm.oo m\rmwm.oo
_z< mmmmM mwm~?._ Nwlmmv.._ m N@.?__m?._m .m m\._»on.co ma.¢oo.om
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_z< mm:~m wamm G-,._m_.?._m .mm..mmv;w no wm_woo.oo mw.moo.oo
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Ocm`BBm_. Ho»m_mu wm_wqm.oo mm.wwm.oo
mmI<-Om mmD<-Om w._.mm_l <<>Nm_.._OGwm Ooa»mon .P_<_< __S.P_¢Ozm _an Q._ mo mum..wmml_
.~.m§._mu zm._. mo _an Q.._ 3 mwm.wmm@
_z< mpwmm >memm..~ w._¢_.,___m.....;j wo.>n?`_w mg ww_....,mo.co mw.~..mo.oo
_z< §me >.»mmmmm om..>n?t_..» om._<_m<hl_~ www mM_mA.o.oo § bache
_z< m§.H >meh»m mm..>u_...t_q Nm._sm<h.~ mem wm_mmm.om mm.wmm.oo
_z< mad >h§mow w`_-_<_m<.§ wo)__._:-._v m,wm Y..Moo.oo 2 .Bo.oa
_z< guam >hmomd N,_-,E_l,_.\ No.>:m-.w.w NNN mmmo.oo mmmo.oo
_z< §de >Am._mmm m._-,E_¢._.w mo.>_._mh.». N.:N 2593 m..».mm.mo
_z< mammm >.»m.a._ gm ._ml>cm.$. .§\mmnh.~ ._m... mmmo.oo mmmo.ao
Ocm»o§mw Ho»m_m~ . wm..wmm.oo wm_..~mm.oo
wm.:u-m moc._..rm>m._. ._.mx>m _zo. Am_sd Oon»mon U><_U O_L£\.~I vin 309 m.»m¢h.wmm
.$§m zm._. mo men 133 §§me
_z< mmwmm ._m..§§.`, mm-_.¢.mv.._ m wo.§mlm o mwmo.oo wmmo.oo
055qu J.Rm_m~ mwwo.oo mmmo.oo
m_s_.m.: m_s:.: ._.>ZK h m._.mm_.. _zO. 003an >U>_<_ m>CO_mm _u:" AN.Nmeh?m.§..~
Hm_._.:mn zm._f.wo _nmx~ §me mmm¢§om
_z< mmw§ 1353 Q.T,._m:-._m Qm.§m?._m wm mmwm.oo amwm.oo
.z< mmwwm mmo._¢d.wwm om-_nmv.._ m .M,T§m?._ m ._m m..._.mm.oo 36me
_z< mmmww Nmow.dmmN om-mmv.._ m .X~E_mlm ._m m__ _`_mo.oo ma _Go.oo
_z< mmmho NA.._,AH__,.___.B@ om-_nmrr._ m .S~E_m~.._m ._m 33me mwhm.oo
_z< mm~mm mmomh.dwmm `_m._nmrr._m .m._...§m?._m ._m ml_ _mom.oo 2 _wom.uo
»z< mmumm mwo._¢w....wmh ._m._nmv.._m .I...E_m?._m ._w mmwc.co mmNo.oo
_z< mmnmm NmAm..H..mow Amlmmc.._m .mm.§m?._m ._N md _omm.oo Q._ _owm.oo

 

 

 

 

 

 

 

 

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.M.T_.sm?._ m N%»U§
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§§ >m on E~m§._ m

 

 

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31 Uooc_smg Um~m

 

 

 

 

 

 

 

 

 

 

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._.m§m~ Z_.W_l mo mumx,. §wa mww.._ bow
“7_< mmmwm. whhmlwmmm._ Nwl_um_ul.“ m Nm._<_m?._ m m mm.....m.oo wm#m.oo
u_/_< mmmwb NN@m\NmM.._.o Nw._um_ul@m Nm._<_mm\l._m m m.m_n_mm.oo M._.omm.oo
Ocm*o_.:m“ Ho»m_m.. mm.»om.oo mm_wom.oo
wO_um .wOC._.-._<<_ZU U=um m. wcT_um..< 00. OO_.,,»NHF. mmZZ/\ me_..>_/_G U:~ hom-mmmlmoj
._.m:dm~ Z_m._. ma Wmvn ho®-mwmlmw.$.
_Z<. mmm.dw muOo~E.Nm mq...wm:hm ON._<_NT._@ mm M.m.moo.oo w.__moo.oo
Ocm»o:.,m~ .~.Bm_mu m.rmoo.oo w.m.moo.oo
ww:u wOC._.IS__.mm_.__. mm=v<>T-u~ F_u. Goz»m.on >UD_>Z _uIH ANW.C mmo..wmoo
.H.O§mu Zm._. mo ka.. ANm.$ mmole_ m
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mC_umI mr:um_»_OW mcwu_u_..._` m. m.~.mm_.. Oos»mon >_<_J\ _u:" Ammd mmmlmmoo
._..w§mq Zm._. mo _nm~n Awwd mNm...mmOm
_Z< mmmmh mv..._ mmoom Mm.._.l.m_v...mm wo»?__m?._m o mN_moo.oo mm.moc.mo
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Hm_d.mm~ zm._. mo _nmx
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OcmSqu ._.oB_m~ m.m_ooo.oo m._ .ooo.oo
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05832 .q.odm_% mmmo.oa mmmo.oo
CZ"DCM CZ_D.Cm _S.PZCI>G._.CW_ZG Ooz$on _Am<_Z P£.C_SWO _u:~ wm.__‘..mmm..mmmo
._.m§.mu 39 m U><m mma
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Ocm»o_.:mw ._.o»m_mu mm.mmh..`d mm_mmh..wn
CZ_<. CZ_<.me>_.. _u"..>Z._. mmW<-OMU 003an ..PUOCnO _..._m<<> _u_.,.. §va mck-moon
_._.O__.Bw… Zm._. mo _nm.xu nNm.C mmLzmon_._
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<<>IU <<.PWU H>ZX mm _._m>._. mXO-._>ZOM_N OODU. Oo~#mn__..~ mm_#_l_Z <<__¢wOZ _u_£ G.di h._w\mh._m
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_Z< mmN..._,N mmhm..mn.:m mm Nwlm®wr._ m le§m?._ m m mmmm.oo mmmm.co

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\_._-z_m?._ m N§.mu_s
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>D >mm:m
>m._:m >m on NNQ§.B

 

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_Z< mm._ m.m Oohmhmhaoo NmJ._m:-._m Nm¢mm_v.._m mm $mNo.oO mmwo.oa
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Ocm»o§m~ Ho»m_mu wmmo.oo wmmo.oo
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mcgoqu Ho»m_mu aw_moo.oo ww_moo.oo
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NQHH mo_d gmc §§
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Attachment to Schedule MB No. 47

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MWO`SO.S
mmp§.@
WOP§.S
BMQ~SO.S
B~§S.S
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Attacllment to Sclledu§e A/B No. 50

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mbh

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wv-m

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BMSQ.S
B§S.S
m~m~@o@.@o
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